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13   Attorneys for Defendant Meta Platforms, Inc.

14
                                 UNITED STATES DISTRICT COURT
15
                              NORTHERN DISTRICT OF CALIFORNIA
16
                                      SAN FRANCISCO DIVISION
17

18   MAXIMILIAN KLEIN, et al., on behalf of          Case No. 3:20-cv-08570-JD
     themselves and all others similarly situated,
19                                                   DECLARATION OF AMRISH
                                   Plaintiffs,
                                                     ACHARYA IN SUPPORT OF OMNIBUS
20
            v.                                       MOTION TO SEAL MATERIALS
21                                                   SUBMITTED IN CONNECTION WITH
     META PLATFORMS, INC., a Delaware                CLASS CERTIFICATION AND
22   Corporation headquartered in California,        DAUBERT BRIEFING

23                                 Defendant.        Judge: Hon. James Donato
24

25

26

27

28   No. 3:20-cv-08570-JD                               DECLARATION OF AMRISH ACHARYA ISO
                                                          OMNIBUS MOTION TO SEAL MATERIALS
                                                        SUBMITTED IN CONNECTION WITH CLASS
                                                         CERTIFICATION AND DAUBERT BRIEFING
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 1          1.      I, Amrish Acharya, declare as follows:

 2          2.      I am a Director of Finance at Meta Platforms, Inc. I have been employed by Meta

 3   since 2015 and have held my current title since 2021. Over the course of my employment at Meta,

 4   I have acquired personal knowledge of Meta’s practices and procedures concerning the

 5   maintenance of the confidentiality of its strategic, business, financial, technical, and marketing

 6   information.

 7          3.      I respectfully submit this declaration in support of the Omnibus Motion to Seal

 8   Materials Submitted in Connection with the Class Certification and Daubert Briefing (“Sealing

 9   Motion”), filed on November 21, 2023 in Klein v. Meta Platforms, Inc., Case No. 3:20-cv-08570-

10   JD (N.D. Cal.).

11          4.      The facts set forth in this declaration are true and correct to the best of my

12   knowledge, information, and belief, and are based on my personal knowledge of Meta’s policies

13   and practices as they relate to the treatment of confidential information, materials that were

14   provided to me and reviewed by me, or conversations with other knowledgeable employees of

15   Meta. If called upon as a witness in this action, I could and would testify from my personal

16   knowledge and knowledge acquired from sources with factual foundation.

17          5.      All the material for which Meta requests sealing is maintained as highly

18   confidential. To the best of my knowledge, none of this material has been publicly disclosed. As

19   demonstrated with factual particularity below, there are compelling reasons and good cause to seal

20   Meta’s highly confidential materials.

21          6.      For the reasons stated below, this information is highly sensitive, and if publicly

22   disclosed, could significantly prejudice Meta’s competitive position by harming Meta’s

23   relationships with business partners, developers, and advertisers, putting Meta at unfair

24   disadvantage in future business negotiations, and permitting Meta’s competitors to gain an unfair

25   advantage in competition with Meta. For example, the public disclosure of Meta’s internal,

26   confidential material could reveal Meta’s strategic decision-making and influence the business

27   strategies employed by Meta’s competitors by enabling them to mimic Meta’s confidential

28   No. 3:20-cv-08570-JD                           -1-      DECLARATION OF AMRISH ACHARYA ISO
                                                               OMNIBUS MOTION TO SEAL MATERIALS
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 1   strategies in an effort to attract users or advertisers away from Meta. The disclosure of Meta’s

 2   confidential material might also give a competitor or a potential business partner unfair leverage

 3   in competing against or negotiating with Meta.

 4           7.       As a matter of internal policy, Meta and its employees treat as strictly confidential:

 5   (1) nonpublic business dealings with third parties, including details of negotiation strategies or

 6   specific deal terms; (2) nonpublic financial data or information; (3) nonpublic pricing data or

 7   information; (4) nonpublic technical functionality of Meta’s products and systems; (5) internal

 8   research or analyses, including proprietary methods for conducting that research or analysis; (6)

 9   nonpublic business strategies, including internal analyses or discussions of in-development or

10   unreleased products, features, or future plans; and (7) other sensitive information that, if publicly

11   disclosed, could prejudice Meta’s business interests. In my experience and to the best of my

12   knowledge, Meta does not disclose internal documents, data, or information of this nature outside

13   of the company, except to authorized third parties when so required or permitted by law or contract.

14           8.       The specific information Meta seeks to seal is identified in the tables below, with

15   numbered rows for the Court’s ease of reference:

16
                                             EXPERT REPORTS
17

18                                   Portion of
       Row        Vanderslice        Document
19                                                                    Basis for Sealing
       No.        Decl. Ex. No.     Sought to Be
                                      Sealed
20
       Advertiser Class Rebuttal Report of Catherine Tucker, filed at Dkt. Nos. 642-6 (Ex. 79),
21                          659-5 (Ex. 3), 671-11 (Ex. 10), 675-4 (Ex. 3)
22      1.        Exhibit B        ¶ 35,             This information reveals Meta’s internal non-
                                   including         public profit, revenue, and financial calculations.
23                                 Exhibits 3, 4,    These data sets are not otherwise publicly reported
                                   and 5             by the company and their disclosure is likely to
24
                                                     cause Meta competitive harm and give its
25                                                   competitors an unfair advantage. Meta’s
                                                     competitors could improperly utilize this internal,
26                                                   non-public data to modify or augment their
                                                     business operations in an effort to compete
27                                                   unfairly against Meta. Moreover, visibility into the
28   No. 3:20-cv-08570-JD                              -2-      DECLARATION OF AMRISH ACHARYA ISO
                                                                  OMNIBUS MOTION TO SEAL MATERIALS
                                                                SUBMITTED IN CONNECTION WITH CLASS
                                                                 CERTIFICATION AND DAUBERT BRIEFING
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 1                               Portion of
       Row      Vanderslice      Document
                                                                Basis for Sealing
 2     No.      Decl. Ex. No.   Sought to Be
                                  Sealed
 3
                                               trends in the data (i.e., figures across multiple
 4                                             years) gives Meta’s competitors improper insight
                                               into the financial health and future outlook of
 5                                             Meta’s product development or advertising
                                               business, which also arguably gives Meta’s
 6                                             competitors an unfair advantage.
 7      2.     Exhibit B        ¶ 36           This information reveals Meta’s internal non-
                                               public profit, revenue, and financial calculations.
 8                                             These data sets are not otherwise publicly reported
                                               by the company and their disclosure is likely to
 9
                                               cause Meta competitive harm and give its
10                                             competitors an unfair advantage. Meta’s
                                               competitors could improperly utilize this internal,
11                                             non-public data to modify or augment their
                                               business operations in an effort to compete
12                                             unfairly against Meta. Moreover, visibility into the
                                               trends in the data (i.e., figures across multiple
13
                                               years) gives Meta’s competitors improper insight
14                                             into the financial health and future outlook of
                                               Meta’s product development or advertising
15                                             business, which also arguably gives Meta’s
                                               competitors an unfair advantage.
16
        3.     Exhibit B        ¶¶ 38-40,      This information reveals Meta’s internal non-
17                              including      public profit, revenue, and financial calculations.
                                Exhibit 7      These data sets are not otherwise publicly reported
18                                             by the company and their disclosure is likely to
19                                             cause Meta competitive harm and give its
                                               competitors an unfair advantage. Meta’s
20                                             competitors could improperly utilize this internal,
                                               non-public data to modify or augment their
21                                             business operations in an effort to compete
                                               unfairly against Meta. Moreover, visibility into the
22                                             trends in the data (i.e., figures across multiple
23                                             years) gives Meta’s competitors improper insight
                                               into the financial health and future outlook of
24                                             Meta’s product development or advertising
                                               business, which also arguably gives Meta’s
25                                             competitors an unfair advantage.
26      4.     Exhibit B        n. 57          This information reveals Meta’s internal non-
                                               public profit, revenue, and financial calculations.
27                                             These data sets are not otherwise publicly reported
28   No. 3:20-cv-08570-JD                        -3-     DECLARATION OF AMRISH ACHARYA ISO
                                                           OMNIBUS MOTION TO SEAL MATERIALS
                                                         SUBMITTED IN CONNECTION WITH CLASS
                                                          CERTIFICATION AND DAUBERT BRIEFING
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 1                               Portion of
       Row      Vanderslice      Document
                                                                Basis for Sealing
 2     No.      Decl. Ex. No.   Sought to Be
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 3
                                               by the company and their disclosure is likely to
 4                                             cause Meta competitive harm and give its
                                               competitors an unfair advantage. Meta’s
 5                                             competitors could improperly utilize this internal,
                                               non-public data to modify or augment their
 6                                             business operations in an effort to compete
                                               unfairly against Meta. Moreover, visibility into the
 7
                                               trends in the data (i.e., figures across multiple
 8                                             years) gives Meta’s competitors improper insight
                                               into the financial health and future outlook of
 9                                             Meta’s product development or advertising
                                               business, which also arguably gives Meta’s
10                                             competitors an unfair advantage.
11      5.     Exhibit B        n. 58          This information reveals Meta’s internal non-
                                               public profit, revenue, and financial calculations.
12                                             These data sets are not otherwise publicly reported
                                               by the company and their disclosure is likely to
13
                                               cause Meta competitive harm and give its
14                                             competitors an unfair advantage. Meta’s
                                               competitors could improperly utilize this internal,
15                                             non-public data to modify or augment their
                                               business operations in an effort to compete
16                                             unfairly against Meta. Moreover, visibility into the
17                                             trends in the data (i.e., figures across multiple
                                               years) gives Meta’s competitors improper insight
18                                             into the financial health and future outlook of
                                               Meta’s product development or advertising
19                                             business, which also arguably gives Meta’s
                                               competitors an unfair advantage.
20
        6.     Exhibit B        n. 59          This information reveals Meta’s internal non-
21                                             public profit, revenue, and financial calculations.
                                               These data sets are not otherwise publicly reported
22                                             by the company and their disclosure is likely to
23                                             cause Meta competitive harm and give its
                                               competitors an unfair advantage. Meta’s
24                                             competitors could improperly utilize this internal,
                                               non-public data to modify or augment their
25                                             business operations in an effort to compete
                                               unfairly against Meta. Moreover, visibility into the
26                                             trends in the data (i.e., figures across multiple
27                                             years) gives Meta’s competitors improper insight
                                               into the financial health and future outlook of
28   No. 3:20-cv-08570-JD                        -4-     DECLARATION OF AMRISH ACHARYA ISO
                                                           OMNIBUS MOTION TO SEAL MATERIALS
                                                         SUBMITTED IN CONNECTION WITH CLASS
                                                          CERTIFICATION AND DAUBERT BRIEFING
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 1                               Portion of
       Row      Vanderslice      Document
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 2     No.      Decl. Ex. No.   Sought to Be
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 3
                                               Meta’s product development or advertising
 4                                             business, which also arguably gives Meta’s
                                               competitors an unfair advantage.
 5
        7.     Exhibit B        n. 60          This information reveals Meta’s internal non-
 6                                             public profit, revenue, and financial calculations.
                                               These data sets are not otherwise publicly reported
 7                                             by the company and their disclosure is likely to
                                               cause Meta competitive harm and give its
 8                                             competitors an unfair advantage. Meta’s
                                               competitors could improperly utilize this internal,
 9
                                               non-public data to modify or augment their
10                                             business operations in an effort to compete
                                               unfairly against Meta. Moreover, visibility into the
11                                             trends in the data (i.e., figures across multiple
                                               years) gives Meta’s competitors improper insight
12                                             into the financial health and future outlook of
                                               Meta’s product development or advertising
13
                                               business, which also arguably gives Meta’s
14                                             competitors an unfair advantage.
        8.     Exhibit B        ¶ 44           This information reveals Meta’s internal non-
15
                                               public profit, revenue, and financial calculations.
16                                             These data sets are not otherwise publicly reported
                                               by the company and their disclosure is likely to
17                                             cause Meta competitive harm and give its
                                               competitors an unfair advantage. Meta’s
18                                             competitors could improperly utilize this internal,
                                               non-public data to modify or augment their
19
                                               business operations in an effort to compete
20                                             unfairly against Meta. Moreover, visibility into the
                                               trends in the data (i.e., figures across multiple
21                                             years) gives Meta’s competitors improper insight
                                               into the financial health and future outlook of
22                                             Meta’s product development or advertising
23                                             business, which also arguably gives Meta’s
                                               competitors an unfair advantage.
24      9.     Exhibit B        ¶ 45           This information reveals Meta’s internal non-
25                                             public profit, revenue, and financial calculations.
                                               These data sets are not otherwise publicly reported
26                                             by the company and their disclosure is likely to
                                               cause Meta competitive harm and give its
27                                             competitors an unfair advantage. Meta’s
28   No. 3:20-cv-08570-JD                        -5-     DECLARATION OF AMRISH ACHARYA ISO
                                                           OMNIBUS MOTION TO SEAL MATERIALS
                                                         SUBMITTED IN CONNECTION WITH CLASS
                                                          CERTIFICATION AND DAUBERT BRIEFING
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 1                               Portion of
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 2     No.      Decl. Ex. No.   Sought to Be
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 3
                                               competitors could improperly utilize this internal,
 4                                             non-public data to modify or augment their
                                               business operations in an effort to compete
 5                                             unfairly against Meta. Moreover, visibility into the
                                               trends in the data (i.e., figures across multiple
 6                                             years) gives Meta’s competitors improper insight
                                               into the financial health and future outlook of
 7
                                               Meta’s product development or advertising
 8                                             business, which also arguably gives Meta’s
                                               competitors an unfair advantage.
 9
        10.    Exhibit B        Exhibit 10     This information reveals Meta’s internal non-
10                                             public profit, revenue, and financial calculations.
                                               These data sets are not otherwise publicly reported
11                                             by the company and their disclosure is likely to
                                               cause Meta competitive harm and give its
12                                             competitors an unfair advantage. Meta’s
                                               competitors could improperly utilize this internal,
13
                                               non-public data to modify or augment their
14                                             business operations in an effort to compete
                                               unfairly against Meta. Moreover, visibility into the
15                                             trends in the data (i.e., figures across multiple
                                               years) gives Meta’s competitors improper insight
16                                             into the financial health and future outlook of
17                                             Meta’s product development or advertising
                                               business, which also arguably gives Meta’s
18                                             competitors an unfair advantage.
        11.    Exhibit B        n. 182         This information contains confidential, non-public
19
                                               information regarding Meta’s internal business
20                                             strategies and analyses, including summaries and
                                               discussions of Meta’s internal modeling and
21                                             assessments of its products, services, or
                                               advertising platform that reveal competitively
22                                             sensitive information, including how users or
23                                             advertisers use and value Meta’s products,
                                               services, or advertising platform, how they
24                                             operate, and potential improvements or other
                                               product changes. Disclosure of this non-public
25                                             information is likely to result in competitive harm
                                               to Meta, as it reveals strategic decision-making
26                                             which, for example, could give a developer,
27                                             advertiser, or business partner unfair leverage in
                                               competing against or negotiating with Meta.
28   No. 3:20-cv-08570-JD                        -6-     DECLARATION OF AMRISH ACHARYA ISO
                                                           OMNIBUS MOTION TO SEAL MATERIALS
                                                         SUBMITTED IN CONNECTION WITH CLASS
                                                          CERTIFICATION AND DAUBERT BRIEFING
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 1                               Portion of
       Row      Vanderslice      Document
                                                                 Basis for Sealing
 2     No.      Decl. Ex. No.   Sought to Be
                                  Sealed
 3
        12.    Exhibit B        ¶ 81,           This information reveals Meta’s internal non-
 4                              including       public profit, revenue, and financial calculations.
                                Exhibit 11      These data sets are not otherwise publicly reported
 5                                              by the company and their disclosure is likely to
                                                cause Meta competitive harm and give its
 6
                                                competitors an unfair advantage. Meta’s
 7                                              competitors could improperly utilize this internal,
                                                non-public data to modify or augment their
 8                                              business operations in an effort to compete
                                                unfairly against Meta. Moreover, visibility into the
 9                                              trends in the data (i.e., figures across multiple
                                                years) gives Meta’s competitors improper insight
10
                                                into the financial health and future outlook of
11                                              Meta’s product development or advertising
                                                business, which also arguably gives Meta’s
12                                              competitors an unfair advantage.
13      13.    Exhibit B        ¶ 124           This information contains confidential,
                                                proprietary, and commercially sensitive
14                                              information regarding the technical functionalities
                                                and processes of Meta’s ad auctions. This
15                                              information has never been disclosed publicly and
                                                Meta’s product team treats it as strictly
16
                                                confidential. If publicly revealed, this information
17                                              could influence the competitive decision-making
                                                and business strategies employed by Meta’s
18                                              competitors in advertising.
19      14.    Exhibit B        n. 239, from    This document describes confidential information
                                “The price”     on the functionality of Meta's advertising products
20                              through “at -   and services. This information contains
                                345-347”        confidential, proprietary, and commercially
21                                              sensitive information regarding the technical
22                                              functionalities and processes of Meta’s ad auction.
                                                This information has never been disclosed publicly
23                                              and Meta’s product team treats it as strictly
                                                confidential. If publicly revealed, this information
24                                              could influence the competitive decisionmaking
                                                and business strategies employed by Meta’s
25                                              competitors in advertising.
26      15.    Exhibit B        ¶ 127 and       This text contains confidential, non-public
                                footnotes 241   information regarding an advertiser and implicates
27                              and 242         their confidentiality interests, by revealing the
28   No. 3:20-cv-08570-JD                         -7-     DECLARATION OF AMRISH ACHARYA ISO
                                                            OMNIBUS MOTION TO SEAL MATERIALS
                                                          SUBMITTED IN CONNECTION WITH CLASS
                                                           CERTIFICATION AND DAUBERT BRIEFING
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 1                               Portion of
       Row      Vanderslice      Document
                                                                Basis for Sealing
 2     No.      Decl. Ex. No.   Sought to Be
                                  Sealed
 3
                                               identity of a Meta advertiser who is not party to
 4                                             this litigation, and who has a reasonable
                                               expectation that Meta will maintain the
 5                                             confidentiality of contractual terms and its own
                                               confidential statements made during negotiations.
 6                                             Further, disclosure of this non-public information
                                               is likely to result in competitive harm to Meta, as
 7
                                               it reveals strategic decision-making, which, for
 8                                             example, could give a competitor or potential
                                               advertiser unfair leverage in competing against or
 9                                             negotiating with Meta. Moreover, Meta’s
                                               competitors could use this non-party information
10                                             to unfairly target Meta’s advertiser.
11      16.    Exhibit B        ¶ 130          This information contains confidential, non-public
                                               information regarding Meta’s internal business
12                                             strategies and analyses, including summaries and
                                               discussions of Meta’s internal modeling and
13
                                               assessments of its products, services, or
14                                             advertising platform that reveal competitively
                                               sensitive information, including how users or
15                                             advertisers use and value Meta’s products,
                                               services, or advertising platform, how they
16                                             operate, and potential improvements or other
17                                             product changes. Disclosure of this non-public
                                               information is likely to result in competitive harm
18                                             to Meta, as it reveals strategic decision-making
                                               which, for example, could give a developer,
19                                             advertiser, or business partner unfair leverage in
                                               competing against or negotiating with Meta.
20
        17.    Exhibit B        ¶ 133          This information reveals Meta’s internal non-
21                                             public profit, revenue, and financial calculations.
                                               These data sets are not otherwise publicly reported
22                                             by the company and their disclosure is likely to
23                                             cause Meta competitive harm and give its
                                               competitors an unfair advantage. Meta’s
24                                             competitors could improperly utilize this internal,
                                               non-public data to modify or augment their
25                                             business operations in an effort to compete
                                               unfairly against Meta. Moreover, visibility into the
26                                             trends in the data (i.e., figures across multiple
27                                             years) gives Meta’s competitors improper insight
                                               into the financial health and future outlook of
28   No. 3:20-cv-08570-JD                        -8-     DECLARATION OF AMRISH ACHARYA ISO
                                                           OMNIBUS MOTION TO SEAL MATERIALS
                                                         SUBMITTED IN CONNECTION WITH CLASS
                                                          CERTIFICATION AND DAUBERT BRIEFING
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 1                               Portion of
       Row      Vanderslice      Document
                                                                Basis for Sealing
 2     No.      Decl. Ex. No.   Sought to Be
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 3
                                               Meta’s product development or advertising
 4                                             business, which also arguably gives Meta’s
                                               competitors an unfair advantage.
 5
        18.    Exhibit B        n. 245         This information reveals Meta’s internal non-
 6                                             public profit, revenue, and financial calculations.
                                               These data sets are not otherwise publicly reported
 7                                             by the company and their disclosure is likely to
                                               cause Meta competitive harm and give its
 8                                             competitors an unfair advantage. Meta’s
                                               competitors could improperly utilize this internal,
 9
                                               non-public data to modify or augment their
10                                             business operations in an effort to compete
                                               unfairly against Meta. Moreover, visibility into the
11                                             trends in the data (i.e., figures across multiple
                                               years) gives Meta’s competitors improper insight
12                                             into the financial health and future outlook of
                                               Meta’s product development or advertising
13
                                               business, which also arguably gives Meta’s
14                                             competitors an unfair advantage.
        19.    Exhibit B        n. 258-262     This text contains confidential, non-public
15
                                               information regarding an advertiser and implicates
16                                             their confidentiality interests, by revealing the
                                               identity of a Meta advertiser who is not party to
17                                             this litigation, and who has a reasonable
                                               expectation that Meta will maintain the
18                                             confidentiality of contractual terms and its own
                                               confidential statements made during negotiations.
19
                                               Further, disclosure of this non-public information
20                                             is likely to result in competitive harm to Meta, as
                                               it reveals strategic decision-making, which, for
21                                             example, could give a competitor or potential
                                               advertiser unfair leverage in competing against or
22                                             negotiating with Meta. Moreover, Meta’s
23                                             competitors could use this non-party information
                                               to unfairly target Meta’s advertiser.
24      20.    Exhibit B        Exhibit E-1,   This information reveals Meta’s internal non-
25                              p. E-5         public profit, revenue, and financial calculations.
                                               These data sets are not otherwise publicly reported
26                                             by the company and their disclosure is likely to
                                               cause Meta competitive harm and give its
27                                             competitors an unfair advantage. Meta’s
28   No. 3:20-cv-08570-JD                        -9-     DECLARATION OF AMRISH ACHARYA ISO
                                                           OMNIBUS MOTION TO SEAL MATERIALS
                                                         SUBMITTED IN CONNECTION WITH CLASS
                                                          CERTIFICATION AND DAUBERT BRIEFING
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 1                               Portion of
       Row      Vanderslice      Document
                                                                  Basis for Sealing
 2     No.      Decl. Ex. No.   Sought to Be
                                  Sealed
 3
                                                competitors could improperly utilize this internal,
 4                                              non-public data to modify or augment their
                                                business operations in an effort to compete
 5                                              unfairly against Meta. Moreover, visibility into the
                                                trends in the data (i.e., figures across multiple
 6                                              years) gives Meta’s competitors improper insight
                                                into the financial health and future outlook of
 7
                                                Meta’s product development or advertising
 8                                              business, which also arguably gives Meta’s
                                                competitors an unfair advantage.
 9
      User Class Rebuttal Report of Catherine Tucker, filed at Dkt. Nos. 645-19, 663-4 (Ex. 5),
10                                        669-6 (Ex. 5)
        21.    Exhibit C        ¶ 84, from “A   This document describes future potential business
11
                                2017 Ipsos”     plans with regard to unreleased products or
12                              through the     features. This information contains confidential
                                end of the      non-public details of Meta’s product functionality
13                              paragraph, &    and strategic considerations related to feature
                                n. 168-171      development. This information has never been
14                                              disclosed publicly and Meta’s product team treats
                                                it as strictly confidential. If publicly revealed, this
15
                                                information could influence the competitive
16                                              decision-making and business strategies employed
                                                by Meta’s competitors.
17
        22.    Exhibit C        ¶ 85 & n.172    This text describes Meta's future potential business
18                                              plans regarding user engagement and data
                                                collection. This information contains confidential
19                                              non-public details of Meta’s product functionality
                                                and strategic considerations related to feature
20                                              development. This information has never been
                                                disclosed publicly and the Meta product team
21
                                                treats it as strictly confidential. If publicly
22                                              revealed, this information could influence the
                                                competitive decision-making and business
23                                              strategies employed by Meta’s competitors.
24      23.    Exhibit C        ¶ 127 & n.269 This document describes future potential business
                                              plans with regard to unreleased products or
25                                            features. This information contains confidential
                                              non-public details of Meta’s product functionality
26                                            and strategic considerations related to feature
27                                            development. This information has never been
                                              disclosed publicly and Meta’s product team treats
28   No. 3:20-cv-08570-JD                        -10-      DECLARATION OF AMRISH ACHARYA ISO
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                                                 it as strictly confidential. If publicly revealed, this
 4                                               information could influence the competitive
                                                 decision-making and business strategies employed
 5                                               by Meta’s competitors.

 6      24.    Exhibit C        Exhibit 4 and    This text reflects user data calculated or derived
                                notes (p. 121)   from Meta’s internal market research which is
 7                                               non-public information, and if revealed to
                                                 competitors and potential business counterparties,
 8                                               could be used to disadvantage Meta. For example,
                                                 if competitor platforms became aware of this
 9
                                                 information, they could use it to inform their own
10                                               strategies, improperly leveraging Meta’s user data
                                                 in an effort to compete unfairly against Meta.
11
        25.    Exhibit C        ¶ 152            This information reflects and is calculated from
12                                               internal, nonpublic Meta financial data. Meta
                                                 spends significant resources compiling and
13                                               maintaining this valuable data, which is non-
                                                 public, and if revealed to competitors and potential
14                                               business counterparties, could be used to
                                                 disadvantage and cause Meta competitive harm by
15
                                                 giving competitors insight into confidential Meta
16                                               financial information. Further, this information
                                                 reflects sensitive, highly confidential
17                                               characterizations by Meta’s internal business
                                                 teams that, if revealed, could be referenced by
18                                               potential counterparties in negotiations with Meta
                                                 to gain an unfair advantage against Meta.
19
        26.    Exhibit C        Exhibit 5 and    This information reflects and is calculated from
20                              notes (p. 123)   internal, nonpublic Meta financial data. Meta
                                                 spends significant resources compiling and
21
                                                 maintaining this valuable data, which is non-
22                                               public, and if revealed to competitors and potential
                                                 business counterparties, could be used to
23                                               disadvantage and cause Meta competitive harm by
                                                 giving competitors insight into confidential Meta
24                                               financial information. Further, this information
25                                               reflects sensitive, highly confidential
                                                 characterizations by Meta’s internal business
26                                               teams that, if revealed, could be referenced by
                                                 potential counterparties in negotiations with Meta
27                                               to gain an unfair advantage against Meta.
28   No. 3:20-cv-08570-JD                         -11-      DECLARATION OF AMRISH ACHARYA ISO
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 3
              Expert Report of Yael Hochberg, filed at Dkt. No. 657-3 (Ex. 1), 677-2 (Ex. 1)
 4      27.     Exhibit D        ¶ 50 (between     This text describes Meta's future and in-progress
 5                               “a code base      business plans with regards to its infrastructure.
                                 that can grow     This information contains non-public and
 6                               and scale the     confidential data regarding unreleased advertising
                                 company” and      products and features development. This
 7                               “Therefore,       information has never been disclosed publicly and
                                 there is reason   Meta’s product team treats it as strictly
 8
                                 to believe…”)     confidential. If publicly revealed, this information
 9                                                 could influence the competitive decision-making
                                                   and business strategies employed by Meta’s
10                                                 competitors, for example by influencing how those
                                                   competitors market themselves to U.S. advertisers
11                                                 and how they distinguish themselves from Meta in
                                                   the eyes of U.S. advertisers.
12
        28.     Exhibit D        n. 76             This text describes Meta's future and in-progress
13                                                 business plans with regards to its infrastructure.
                                                   This information contains non-public and
14
                                                   confidential data regarding unreleased advertising
15                                                 products and features development. This
                                                   information has never been disclosed publicly and
16                                                 Meta’s product team treats it as strictly
                                                   confidential. If publicly revealed, this information
17                                                 could influence the competitive decision-making
                                                   and business strategies employed by Meta’s
18
                                                   competitors, for example by influencing how those
19                                                 competitors market themselves to U.S. advertisers
                                                   and how they distinguish themselves from Meta in
20                                                 the eyes of U.S. advertisers.
21    Reply Report of Scott Fasser, filed at Dkt. Nos. 642-8 (Ex. B), 646-4 (Ex. 2), 647-4 (Ex. 2),
                                             667-3 (Ex. 2)
22
        29.     Exhibit E        ¶ 4, the final    This information reveals Meta’s internal non-
23                               sentence          public profit, revenue, and financial calculations.
                                                   These data sets are not otherwise publicly reported
24                                                 by the company and their disclosure is likely to
                                                   cause Meta competitive harm and give its
25                                                 competitors an unfair advantage. Meta’s
                                                   competitors could improperly utilize this internal,
26
                                                   non-public data to modify or augment their
27                                                 business operations in an effort to compete
                                                   unfairly against Meta. Moreover, visibility into the
28   No. 3:20-cv-08570-JD                           -12-     DECLARATION OF AMRISH ACHARYA ISO
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                                                trends in the data (i.e., figures across multiple
 4                                              years) gives Meta’s competitors improper insight
                                                into the financial health and future outlook of
 5                                              Meta’s product development or advertising
                                                business, which also arguably gives Meta’s
 6                                              competitors an unfair advantage.
 7      30.    Exhibit E        n. 2            This information reflects and is calculated from
                                                internal, nonpublic Meta financial data. Meta
 8                                              spends significant resources compiling and
                                                maintaining this valuable data, which is non-
 9
                                                public, and if revealed to competitors and potential
10                                              business counterparties, could be used to
                                                disadvantage and cause Meta competitive harm by
11                                              giving competitors insight into confidential Meta
                                                financial information. Further, this information
12                                              reflects sensitive, highly confidential
                                                characterizations by Meta’s internal business
13
                                                teams that, if revealed, could be referenced by
14                                              potential counterparties in negotiations with Meta
                                                to gain an unfair advantage against Meta.
15
        31.    Exhibit E        ¶5              This information reveals Meta’s internal non-
16                                              public profit, revenue, and financial calculations.
                                                These data sets are not otherwise publicly reported
17                                              by the company and their disclosure is likely to
                                                cause Meta competitive harm and give its
18                                              competitors an unfair advantage. Meta’s
                                                competitors could improperly utilize this internal,
19
                                                non-public data to modify or augment their
20                                              business operations in an effort to compete
                                                unfairly against Meta. Moreover, visibility into the
21                                              trends in the data (i.e., figures across multiple
                                                years) gives Meta’s competitors improper insight
22                                              into the financial health and future outlook of
23                                              Meta’s product development or advertising
                                                business, which also arguably gives Meta’s
24                                              competitors an unfair advantage.

25      32.    Exhibit E        ¶ 6, from       This information reveals Meta’s internal non-
                                “specific       public pricing information for advertising on
26                              advertisement   Meta’s products, including how those prices can
                                ” through end   be determined. This information is not otherwise
27                                              publicly reported by the company and disclosure is
28   No. 3:20-cv-08570-JD                        -13-     DECLARATION OF AMRISH ACHARYA ISO
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                                of paragraph.   likely to cause Meta competitive harm and give its
 4                                              competitors an unfair advantage. Meta’s
                                                competitors could improperly utilize this internal,
 5                                              non-public information to modify or augment their
                                                business operations in an effort to compete
 6                                              unfairly against Meta.
 7      33.    Exhibit E        n. 4            This information contains confidential, non-public
                                                information regarding Meta’s internal business
 8                                              strategies and analyses, including summaries and
                                                discussions of Meta’s internal modeling and
 9
                                                assessments of its products, services, or
10                                              advertising platform that reveal competitively
                                                sensitive information, including how advertisers
11                                              use and value Meta’s advertising platform, how
                                                they operate, and potential improvements or other
12                                              product changes. Disclosure of this non-public
                                                information is likely to result in competitive harm
13
                                                to Meta, as it reveals strategic decision-making
14                                              which, for example, could give an advertiser
                                                unfair leverage in competing against or negotiating
15                                              with Meta.
16      34.    Exhibit E        n. 5            This information reflects and is calculated from
                                                internal, nonpublic Meta financial data. Meta
17                                              spends significant resources compiling and
                                                maintaining this valuable data, which is non-
18                                              public, and if revealed to competitors and potential
                                                business counterparties, could be used to
19
                                                disadvantage and cause Meta competitive harm by
20                                              giving competitors insight into confidential Meta
                                                financial information. Further, this information
21                                              reflects sensitive, highly confidential
                                                characterizations by Meta’s internal business
22                                              teams that, if revealed, could be referenced by
23                                              potential counterparties in negotiations with Meta
                                                to gain an unfair advantage against Meta.
24      35.    Exhibit E        n. 6            This information reveals Meta’s internal non-
25                                              public pricing information for advertising on
                                                Meta’s products or services, including how those
26                                              prices can be determined. This information is not
                                                otherwise publicly reported by the company and
27                                              disclosure is likely to cause Meta competitive
28   No. 3:20-cv-08570-JD                        -14-     DECLARATION OF AMRISH ACHARYA ISO
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                                               harm and give its competitors an unfair advantage.
 4                                             Meta’s competitors could improperly utilize this
                                               internal, non-public information to modify or
 5                                             augment their business operations in an effort to
                                               compete unfairly against Meta.
 6
        36.    Exhibit E        n. 8           This information contains non-public and
 7                                             confidential data regarding advertiser monetization
                                               strategies on Meta’s produces or services. This
 8                                             information has never been disclosed publicly and
                                               the Meta product team treats it as strictly
 9
                                               confidential. If publicly revealed, this information
10                                             could influence the competitive decision-making
                                               and business strategies employed by Meta’s
11                                             competitors, for example by influencing how those
                                               competitors market themselves to U.S. advertisers
12                                             and how they distinguish themselves from Meta in
                                               the eyes of U.S. advertisers.
13
        37.    Exhibit E        n. 9           This information contains non-public and
14                                             confidential data regarding advertiser monetization
                                               strategies on Meta’s produces or services. This
15
                                               information has never been disclosed publicly and
16                                             the Meta product team treats it as strictly
                                               confidential. If publicly revealed, this information
17                                             could influence the competitive decision-making
                                               and business strategies employed by Meta’s
18                                             competitors, for example by influencing how those
19                                             competitors market themselves to U.S. advertisers
                                               and how they distinguish themselves from Meta in
20                                             the eyes of U.S. advertisers.
        38.    Exhibit E        n. 10          This information reveals Meta’s internal non-
21
                                               public pricing information for advertising on
22                                             Meta’s products or services, including how those
                                               prices can be determined. This information is not
23                                             otherwise publicly reported by the company and
                                               disclosure is likely to cause Meta competitive
24                                             harm and give its competitors an unfair advantage.
25                                             Meta’s competitors could improperly utilize this
                                               internal, non-public information to modify or
26                                             augment their business operations in an effort to
                                               compete unfairly against Meta.
27

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        39.    Exhibit E        n. 11          This information contains non-public and
 4                                             confidential data regarding advertiser monetization
                                               strategies on Meta’s produces or services. This
 5                                             information has never been disclosed publicly and
                                               the Meta product team treats it as strictly
 6
                                               confidential. If publicly revealed, this information
 7                                             could influence the competitive decision-making
                                               and business strategies employed by Meta’s
 8                                             competitors, for example by influencing how those
                                               competitors market themselves to U.S. advertisers
 9                                             and how they distinguish themselves from Meta in
                                               the eyes of U.S. advertisers.
10
        40.    Exhibit E        ¶ 9, from      This text contains confidential, non-public
11                              “threshold”    information regarding an advertiser and implicates
                                through the    their confidentiality interests, by revealing the
12
                                end of the     identity of a Meta advertiser who is not party to
13                              paragraph      this litigation, and who has a reasonable
                                               expectation that Meta will maintain the
14                                             confidentiality of contractual terms and its own
                                               confidential statements made during negotiations.
15                                             Further, disclosure of this non-public information
                                               is likely to result in competitive harm to Meta, as
16
                                               it reveals strategic decision-making, which, for
17                                             example, could give a competitor or potential
                                               business partner unfair leverage in competing
18                                             against or negotiating with Meta. Moreover,
                                               Meta’s competitors could use this non-party
19                                             information to unfairly target Meta’s advertiser.
20      41.    Exhibit E        ¶ 10           This information contains non-public and
                                               confidential data regarding advertiser monetization
21                                             strategies on Meta’s produces or services. This
                                               information has never been disclosed publicly and
22
                                               the Meta product team treats it as strictly
23                                             confidential. If publicly revealed, this information
                                               could influence the competitive decision-making
24                                             and business strategies employed by Meta’s
                                               competitors, for example by influencing how those
25                                             competitors market themselves to U.S. advertisers
26                                             and how they distinguish themselves from Meta in
                                               the eyes of U.S. advertisers.
27

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        42.    Exhibit E         ¶ 11            This information reveals Meta’s internal non-
 4                                               public pricing information for advertising on
                                                 Meta’s products or services, including how those
 5                                               prices can be determined. This information is not
                                                 otherwise publicly reported by the company and
 6
                                                 disclosure is likely to cause Meta competitive
 7                                               harm and give its competitors an unfair advantage.
                                                 Meta’s competitors could improperly utilize this
 8                                               internal, non-public information to modify or
                                                 augment their business operations in an effort to
 9                                               compete unfairly against Meta
10             Exhibit E         ¶ 13, between   This text contains confidential, non-public
                                 “cites          information regarding an advertiser and implicates
11                               agreements      their confidentiality interests, by revealing the
                                 with” and       identity of a Meta advertiser who is not party to
12
                                 “Prof.          this litigation, and who has a reasonable
13                               Tucker’s        expectation that Meta will maintain the
                                 citations”      confidentiality of contractual terms and its own
14                                               confidential statements made during negotiations.
                                                 Further, disclosure of this non-public information
15                                               is likely to result in competitive harm to Meta, as
                                                 it reveals strategic decision-making, which, for
16
                                                 example, could give a competitor or potential
17                                               business partner unfair leverage in competing
                                                 against or negotiating with Meta. Moreover,
18                                               Meta’s competitors could use this non-party
                                                 information to unfairly target Meta’s advertiser.
19
        Expert Report of Michael A Williams, filed at Dkt. Nos. 642-10 (Ex. A), 646-8 (Ex. 6),
20    647-8 (Ex. 6), 657-5 (Ex. 7), 659-3 (Ex. 1), 661-2 (Ex. 1), 671-5 (Ex. 4), 675-5 (Ex. 4), 677-4
                                                  (Ex. 3)
21
        43.    Exhibit F         ¶ 46            This document describes Meta's future potential
22                                               business plans regarding the data and AI/ML
                                                 systems used for advertising. This information
23                                               contains confidential, proprietary, and
                                                 commercially sensitive information regarding the
24
                                                 technical functionalities and processes of Meta’s
25                                               ad auction, ad targeting and delivery systems, or
                                                 data tables. This information has never been
26                                               disclosed publicly and Meta’s product team treats
                                                 it as strictly confidential. If publicly revealed, this
27                                               information could influence the competitive
28   No. 3:20-cv-08570-JD                          -17-     DECLARATION OF AMRISH ACHARYA ISO
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                                                decision-making and business strategies employed
 4                                              by Meta’s competitors in advertising.
        44.    Exhibit F        ¶ 316           This text contains confidential, non-public
 5
                                                information regarding Meta’s internal business
 6                                              strategies and analyses, including summaries and
                                                discussions of Meta’s internal modeling and
 7                                              assessments of its products that reveal
                                                competitively sensitive information, including
 8                                              how they operate, and potential improvements or
                                                other product changes. Disclosure of this non-
 9
                                                public information is likely to result in competitive
10                                              harm to Meta, as it reveals strategic decision-
                                                making which, for example, could give an ad
11                                              venue unfair leverage in competing against Meta.
12      45.    Exhibit F        ¶ 317           This document describes Meta's future potential
                                                business plans regarding the data and AI/ML
13                                              systems used for advertising. This information
                                                contains confidential, proprietary, and
14                                              commercially sensitive information regarding the
                                                technical functionalities and processes of Meta’s
15
                                                ad auction, ad targeting and delivery systems, or
16                                              data tables. This information has never been
                                                disclosed publicly and Meta’s product team treats
17                                              it as strictly confidential. If publicly revealed, this
                                                information could influence the competitive
18                                              decision-making and business strategies employed
                                                by Meta’s competitors in advertising.
19
        Reply Report of Michael A. Williams, filed at Dkt. Nos. 642-10 (Ex. B), 657-7 (Ex. 9),
20                   659-7 (Ex. 5), 661-3 (Ex. 2), 671-7 (Ex. 6), 675-10 (Ex. 9)
21      46.    Exhibit G        ¶ 52, between   This text reflects and is calculated from internal,
                                “her claim is   nonpublic Meta financial data. Meta spends
22                              that” and       significant resources compiling and maintaining
                                “Thus, Dr.      this valuable data, which is non-public, and if
23
                                Tucker’s” and   revealed to competitors and potential business
24                              n. 36           counterparties, could be used to disadvantage and
                                                cause Meta competitive harm by giving
25                                              competitors insight into confidential Meta
                                                financial information. Further, this information
26                                              reflects sensitive, highly confidential
27                                              characterizations by Meta’s internal business
                                                teams that, if revealed, could be referenced by
28   No. 3:20-cv-08570-JD                        -18-      DECLARATION OF AMRISH ACHARYA ISO
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                                               potential counterparties in negotiations with Meta
 4                                             to gain an unfair advantage against Meta.
        47.    Exhibit G        n. 48          This text contains confidential, non-public
 5
                                               information regarding Meta’s internal business
 6                                             strategies and analyses, including summaries and
                                               discussions of Meta’s internal modeling and
 7                                             assessments of its advertising platform that reveal
                                               competitively sensitive information, including
 8                                             how advertisers use and value Meta’s products,
                                               services, or advertising platform, how they
 9
                                               operate, and potential improvements or other
10                                             product changes. Disclosure of this non-public
                                               information is likely to result in competitive harm
11                                             to Meta, as it reveals strategic decision-making
                                               which, for example, could give an ad venue unfair
12                                             leverage in competing against or negotiating with
                                               Meta.
13
        48.    Exhibit G        ¶ 132 and n.   This text reveals Meta’s internal non-public
14                              151            pricing information for advertising on Meta’s
                                               products or services, including how those prices
15
                                               can be determined. This information is not
16                                             otherwise publicly reported by the company and
                                               disclosure is likely to cause Meta competitive
17                                             harm and give its competitors an unfair advantage.
                                               Meta’s competitors could improperly utilize this
18                                             internal, non-public information to modify or
19                                             augment their business operations in an effort to
                                               compete unfairly against Meta.
20    Expert Report of Joshua Gans, filed at Dkt. Nos. 642-14 (Ex. A), 646-4 (Ex. 4), 647-6 (Ex.
              4), 659-4 (Ex. 2), 661-8 (Ex. 7), 665-2 (Ex. 1), 671-8 (Ex. 7), 675-8 (Ex. 7)
21
        49.    Exhibit H        ¶ 62           This information contains confidential, non-public
22                                             information regarding Meta’s internal business
                                               strategies and analyses, including summaries and
23
                                               discussions of Meta’s internal modeling and
24                                             assessments of its products, services, or
                                               advertising platform that reveal competitively
25                                             sensitive information, including how users or
                                               advertisers use and value Meta’s products,
26                                             services, or advertising platform, how they
27                                             operate, and potential improvements or other
                                               product changes. Disclosure of this non-public
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                                                information is likely to result in competitive harm
 4                                              to Meta, as it reveals strategic decision-making
                                                which, for example, could give a developer,
 5                                              advertiser, or business partner unfair leverage in
                                                competing against or negotiating with Meta.
 6
        50.    Exhibit H        ¶ 66            This information contains confidential, non-public
 7                                              information regarding Meta’s internal business
                                                strategies and analyses, including summaries and
 8                                              discussions of Meta’s internal modeling and
                                                assessments of its products that reveal
 9
                                                competitively sensitive information, including
10                                              how users use and value Meta’s products, how
                                                they operate, and potential improvements or other
11                                              product changes. Disclosure of this non-public
                                                information is likely to result in competitive harm
12                                              to Meta, as it reveals strategic decision-making
                                                which, for example, could give a developer,
13
                                                advertiser, or business partner unfair leverage in
14                                              competing against or negotiating with Meta.
        51.    Exhibit H        ¶ 67, between   This information contains confidential, non-public
15
                                “indicates      information regarding Meta’s internal business
16                              that” and “A    strategies and analyses, including summaries and
                                Snapchat        discussions of Meta’s internal modeling and
17                              executive”      assessments of its products that reveal
                                                competitively sensitive information, including
18                                              how users use and value Meta’s products, how
                                                they operate, and potential improvements or other
19
                                                product changes. Disclosure of this non-public
20                                              information is likely to result in competitive harm
                                                to Meta, as it reveals strategic decision-making
21                                              which, for example, could give a developer,
                                                advertiser, or business partner unfair leverage in
22                                              competing against or negotiating with Meta.
23      52.    Exhibit H        ¶ 68            This information contains confidential, non-public
                                                information regarding Meta’s internal business
24                                              strategies and analyses, including summaries and
25                                              discussions of Meta’s internal modeling and
                                                assessments of its products that reveal
26                                              competitively sensitive information, including
                                                how users use and value Meta’s products, how
27                                              they operate, and potential improvements or other
28   No. 3:20-cv-08570-JD                        -20-     DECLARATION OF AMRISH ACHARYA ISO
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                                               product changes. Disclosure of this non-public
 4                                             information is likely to result in competitive harm
                                               to Meta, as it reveals strategic decision-making
 5                                             which, for example, could give a developer,
                                               advertiser, or business partner unfair leverage in
 6                                             competing against or negotiating with Meta.
 7      53.    Exhibit H        ¶ 82, after    This information contains confidential, non-public
                                “appears at    information regarding Meta’s internal business
 8                              PALM-          strategies and analyses, including summaries and
                                002014263”     discussions of Meta’s internal modeling and
 9
                                through end    assessments of its products and services that reveal
10                              of paragraph   competitively sensitive information, including
                                               how developers use and value Meta’s products and
11                                             services, how they operate, and potential
                                               improvements or other product changes.
12                                             Disclosure of this non-public information is likely
                                               to result in competitive harm to Meta, as it reveals
13
                                               strategic decision-making which, for example,
14                                             could give a developer unfair leverage in
                                               competing against or negotiating with Meta.
15

16      54.    Exhibit H        ¶ 83, first    This information contains confidential, non-public
                                sentence       information regarding Meta’s internal business
17                                             strategies and analyses, including summaries and
                                               discussions of Meta’s internal modeling and
18                                             assessments of its products that reveal
                                               competitively sensitive information, including
19
                                               how users use and value Meta’s products, how
20                                             they operate, and potential improvements or other
                                               product changes. Disclosure of this non-public
21                                             information is likely to result in competitive harm
                                               to Meta, as it reveals strategic decision-making
22                                             which, for example, could give a developer,
23                                             advertiser, or business partner unfair leverage in
                                               competing against or negotiating with Meta.
24      55.    Exhibit H        ¶ 90           This text contains confidential, non-public
25                                             information regarding an advertiser and implicates
                                               their confidentiality interests, by revealing the
26                                             identity of a Meta advertiser who is not party to
                                               this litigation, and who has a reasonable
27                                             expectation that Meta will maintain the
28   No. 3:20-cv-08570-JD                       -21-     DECLARATION OF AMRISH ACHARYA ISO
                                                           OMNIBUS MOTION TO SEAL MATERIALS
                                                         SUBMITTED IN CONNECTION WITH CLASS
                                                          CERTIFICATION AND DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-1 Filed 11/21/23 Page 23 of 92




 1                               Portion of
       Row      Vanderslice      Document
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 2     No.      Decl. Ex. No.   Sought to Be
                                  Sealed
 3
                                                confidentiality of contractual terms and its own
 4                                              confidential statements made during negotiations.
                                                Further, disclosure of this non-public information
 5                                              is likely to result in competitive harm to Meta, as
                                                it reveals strategic decision-making, which, for
 6                                              example, could give a competitor or potential
                                                business partner unfair leverage in competing
 7
                                                against or negotiating with Meta. Moreover,
 8                                              Meta’s competitors could use this non-party
                                                information to unfairly target Meta’s advertiser.
 9
        56.    Exhibit H        ¶ 103           This text describes Meta's future potential business
10                                              plans regarding the data and AI/ML systems used
                                                for advertising. This information contains
11                                              confidential, proprietary, and commercially
                                                sensitive information regarding the technical
12                                              functionalities and processes of Meta’s ad auction,
                                                ad targeting and delivery systems, or data tables.
13
                                                This information has never been disclosed publicly
14                                              and Meta’s product team treats it as strictly
                                                confidential. If publicly revealed, this information
15                                              could influence the competitive decision-making
                                                and business strategies employed by Meta’s
16                                              competitors in advertising.
17    Expert Report of Nicholas Economides, filed at Dkt. Nos. 645-5, 651-4 (Ex. 1), 652-3 (Ex.
                                  1), 663-2 (Ex. 1), 669-7 (Ex. 6)
18
        57.    Exhibit I        Section X.D.2   This document describes future potential business
19                                              plans with regard to unreleased products or
                                                features. This information contains confidential
20                                              non-public details of Meta’s product functionality
                                                and strategic considerations related to feature
21
                                                development. This information has never been
22                                              disclosed publicly and Meta’s product team treats
                                                it as strictly confidential. If publicly revealed, this
23                                              information could influence the competitive
                                                decision-making and business strategies employed
24                                              by Meta’s competitors.
25     Reply Report of Nicholas Economides, filed at Dkt Nos. 645-6, 651-5 (Ex. 2), 652-4 (Ex.
                                 2), 663-5 (Ex. 4), 669-14 (Ex. 13)
26
        58.    Exhibit J        ¶ 92            This document describes future potential business
27                                              plans with regard to unreleased products or
28   No. 3:20-cv-08570-JD                        -22-      DECLARATION OF AMRISH ACHARYA ISO
                                                             OMNIBUS MOTION TO SEAL MATERIALS
                                                           SUBMITTED IN CONNECTION WITH CLASS
                                                            CERTIFICATION AND DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-1 Filed 11/21/23 Page 24 of 92




 1                               Portion of
       Row      Vanderslice      Document
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 2     No.      Decl. Ex. No.   Sought to Be
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 3
                                               features. This information contains confidential
 4                                             non-public details of Meta’s product functionality
                                               and strategic considerations related to feature
 5                                             development. This information has never been
                                               disclosed publicly and Meta’s product team treats
 6                                             it as strictly confidential. If publicly revealed, this
                                               information could influence the competitive
 7
                                               decision-making and business strategies employed
 8                                             by Meta’s competitors.
        59.    Exhibit J        ¶ 113          This document describes future potential business
 9
                                               plans with regard to unreleased products or
10                                             features. This information contains confidential
                                               non-public details of Meta’s product functionality
11                                             and strategic considerations related to feature
                                               development. This information has never been
12                                             disclosed publicly and Meta’s product team treats
                                               it as strictly confidential. If publicly revealed, this
13
                                               information could influence the competitive
14                                             decision-making and business strategies employed
                                               by Meta’s competitors.
15
        60.    Exhibit J        ¶ 130          This document describes future potential business
16                                             plans with regard to unreleased products or
                                               features. This information contains confidential
17                                             non-public details of Meta’s product functionality
                                               and strategic considerations related to feature
18                                             development. This information has never been
                                               disclosed publicly and Meta’s product team treats
19
                                               it as strictly confidential. If publicly revealed, this
20                                             information could influence the competitive
                                               decision-making and business strategies employed
21                                             by Meta’s competitors.
22      61.    Exhibit J        ¶ 190          This document describes future potential business
                                               plans with regard to unreleased products or
23                                             features. This information contains confidential
                                               non-public details of Meta’s product functionality
24                                             and strategic considerations related to feature
25                                             development. This information has never been
                                               disclosed publicly and Meta’s product team treats
26                                             it as strictly confidential. If publicly revealed, this
                                               information could influence the competitive
27

28   No. 3:20-cv-08570-JD                        -23-     DECLARATION OF AMRISH ACHARYA ISO
                                                            OMNIBUS MOTION TO SEAL MATERIALS
                                                          SUBMITTED IN CONNECTION WITH CLASS
                                                           CERTIFICATION AND DAUBERT BRIEFING
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 1                                Portion of
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 2     No.      Decl. Ex. No.    Sought to Be
                                   Sealed
 3
                                                decision-making and business strategies employed
 4                                              by Meta’s competitors.
                        Reply Report of Sarah Lamdan, filed at Dkt. Nos. 645-11
 5
        62.    Exhibit K         ¶ 28           This document described Meta’s future potential
 6                                              business plans regarding privacy. This information
                                                contains non-public information regarding
 7                                              confidential non-public details of Meta’s product
 8                                              functionality and strategic considerations related
                                                to feature development. This information has
 9                                              never been disclosed publicly. Disclosure of this
                                                information would adversely impact Meta’s
10                                              current competitive position by enabling Meta’s
                                                competitors to mimic its confidential strategies.
11

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28   No. 3:20-cv-08570-JD                        -24-     DECLARATION OF AMRISH ACHARYA ISO
                                                            OMNIBUS MOTION TO SEAL MATERIALS
                                                          SUBMITTED IN CONNECTION WITH CLASS
                                                           CERTIFICATION AND DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-1 Filed 11/21/23 Page 26 of 92




                        DEPOSITION TRANSCRIPTS (Economides & Tucker)
 1

 2                                 Portion of
       Row       Vanderslice       Document
                                                                  Basis for Sealing
 3     No.       Decl. Ex. No.     Sought to
                                   Be Sealed
 4
      Transcript of Deposition of Nicholas Economides, filed in full at Dkt. No. 673-10 (Ex. 14),
 5             and excerpts thereof filed at Dkt. Nos. 651-6 (Ex. 3) and 652-5 (Ex. 3)
 6     63.     Exhibit L         59:8-14         This information contains nonpublic and
                                                 confidential data or research regarding internal
 7                                               user data, including proprietary methods for
                                                 obtaining that data or conducting that research.
 8                                               This information has never been disclosed
 9                                               publicly and the Meta’s product team treats it as
                                                 strictly confidential. If publicly revealed, this
10                                               information could influence the competitive
                                                 decision-making and business strategies
11                                               employed by Meta’s competitors, for example by
                                                 influencing how those competitors conduct
12                                               market research on U.S. users.
13     64.     Exhibit L         93:9-20         This information contains nonpublic and
                                                 confidential data or research regarding internal
14                                               user data, including proprietary methods for
15                                               obtaining that data or conducting that research.
                                                 This information has never been disclosed
16                                               publicly and the Meta’s product team treats it as
                                                 strictly confidential. If publicly revealed, this
17                                               information could influence the competitive
                                                 decision-making and business strategies
18                                               employed by Meta’s competitors, for example by
19                                               influencing how those competitors conduct
                                                 market research on U.S. users.
20     65.     Exhibit L         106:10-107:8 This text describes future potential business plans
21                                            with regard to unreleased products or features.
                                              This information contains confidential non-public
22                                            details of Meta’s product functionality and
                                              strategic considerations related to feature
23                                            development. This information has never been
                                              disclosed publicly and Meta’s product team treats
24                                            it as strictly confidential. If publicly revealed, this
25                                            information could influence the competitive
                                              decision-making and business strategies
26                                            employed by Meta’s competitors.

27     66.     Exhibit L         110:15-25       This text describes future potential business plans
                                                 with regard to unreleased products or features.
28   No. 3:20-cv-08570-JD                         -25-     DECLARATION OF AMRISH ACHARYA ISO
                                                             OMNIBUS MOTION TO SEAL MATERIALS
                                                           SUBMITTED IN CONNECTION WITH CLASS
                                                            CERTIFICATION AND DAUBERT BRIEFING
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                                                 This information contains confidential non-public
 1
                                                 details of Meta’s product functionality and
 2                                               strategic considerations related to feature
                                                 development. This information has never been
 3                                               disclosed publicly and Meta’s product team treats
                                                 it as strictly confidential. If publicly revealed, this
 4                                               information could influence the competitive
                                                 decision-making and business strategies
 5
                                                 employed by Meta’s competitors.
 6      Transcript of User Plaintiffs’ Deposition of Catherine Tucker, filed in full at Dkt. No.
                645-15 (Ex. 75), and excerpts thereof filed at Dkt. No. 673-9 (Ex. 13)
 7
       67.     Exhibit M          6:20-21        This text reveals the home address of Meta’s
 8                                               expert, Catherine Tucker. Professor Tucker has a
                                                 legitimate, legally recognized privacy interest in
 9
                                                 protecting her contact information from public
10                                               disclosure. If her contact information were to be
                                                 publicly disclosed, she may be subject to repeated
11                                               inquiries from the press or members of the
                                                 general public, which could rise to the level of
12                                               threats or harassment, given the current media
                                                 attention on Meta.
13
       68.     Exhibit M          204:14-22      This information contains confidential, non-
14                                               public information regarding Meta’s internal
                                                 business strategies and analyses, including
15
                                                 summaries and discussions of Meta’s internal
16                                               modeling and assessments of its advertising
                                                 platform that reveal competitively sensitive
17                                               information, including how Meta’s products
                                                 operate, and potential improvements or other
18                                               product changes. Disclosure of this non-public
19                                               information is likely to result in competitive harm
                                                 to Meta, as it reveals strategic decision-making
20                                               which, for example, could give an advertiser
                                                 unfair leverage in competing against or
21                                               negotiating with Meta.
22     69.     Exhibit M          205:5-13       This information contains confidential, non-
                                                 public information regarding Meta’s internal
23                                               business strategies and analyses, including
                                                 summaries and discussions of Meta’s internal
24                                               modeling and assessments of its advertising
25                                               platform that reveal competitively sensitive
                                                 information, including how Meta’s products
26                                               operate, and potential improvements or other
                                                 product changes. Disclosure of this non-public
27                                               information is likely to result in competitive harm
28   No. 3:20-cv-08570-JD                         -26-     DECLARATION OF AMRISH ACHARYA ISO
                                                             OMNIBUS MOTION TO SEAL MATERIALS
                                                           SUBMITTED IN CONNECTION WITH CLASS
                                                            CERTIFICATION AND DAUBERT BRIEFING
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                                           to Meta, as it reveals strategic decision-making
 1
                                           which, for example, could give an advertiser
 2                                         unfair leverage in competing against or
                                           negotiating with Meta.
 3
       70.     Exhibit M       206:18-     This information contains nonpublic and
 4                             207:12      confidential data or research regarding internal
                                           user data, including proprietary methods for
 5                                         obtaining that data or conducting that research.
                                           This information has never been disclosed
 6                                         publicly and the Meta’s product team treats it as
                                           strictly confidential. If publicly revealed, this
 7
                                           information could influence the competitive
 8                                         decision-making and business strategies
                                           employed by Meta’s competitors, for example by
 9                                         influencing how those competitors conduct
                                           market research on U.S. users.
10
       71.     Exhibit M       208:24-     This information contains nonpublic and
11                             209:10      confidential data or research regarding internal
                                           user data, including proprietary methods for
12                                         obtaining that data or conducting that research.
                                           This information has never been disclosed
13
                                           publicly and the Meta’s product team treats it as
14                                         strictly confidential. If publicly revealed, this
                                           information could influence the competitive
15                                         decision-making and business strategies
                                           employed by Meta’s competitors, for example by
16                                         influencing how those competitors conduct
17                                         market research on U.S. users.
       72.     Exhibit M       209:21-25   This information contains nonpublic and
18                                         confidential data or research regarding internal
                                           user data, including proprietary methods for
19
                                           obtaining that data or conducting that research.
20                                         This information has never been disclosed
                                           publicly and the Meta’s product team treats it as
21                                         strictly confidential. If publicly revealed, this
                                           information could influence the competitive
22                                         decision-making and business strategies
23                                         employed by Meta’s competitors, for example by
                                           influencing how those competitors conduct
24                                         market research on U.S. users.

25     73.     ExhACTIVEUS 299:20-         This information contains nonpublic and
               201812827v.6ibit 301:13     confidential data or research regarding internal
26             M                           user data, including proprietary methods for
                                           obtaining that data or conducting that research.
27                                         This information has never been disclosed
28   No. 3:20-cv-08570-JD                  -27-     DECLARATION OF AMRISH ACHARYA ISO
                                                      OMNIBUS MOTION TO SEAL MATERIALS
                                                    SUBMITTED IN CONNECTION WITH CLASS
                                                     CERTIFICATION AND DAUBERT BRIEFING
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                                                 publicly and the Meta’s product team treats it as
 1
                                                 strictly confidential. If publicly revealed, this
 2                                               information could influence the competitive
                                                 decision-making and business strategies
 3                                               employed by Meta’s competitors, for example by
                                                 influencing how those competitors conduct
 4                                               market research on U.S. users.
 5

 6                                        OTHER FILINGS

 7            Vanderslice      Document or Portion of
      Row
               Decl. Ex.       Document Sought to Be                      Basis for Sealing
 8    No.
                 No.                 Sealed
 9    Interim Administrative Motion to File Under Seal Advertiser Plaintiffs’ Motion for Class
                     Certification and Supporting Documents (Dkt. No. 642)
10
       74.    Exhibit N1    Dkt. No. 642-1, Advertisers’        This text describes bilateral meetings
11                          Motion for Class Certification,     with government officials as well as
                            between “Ex. 8 at 331” and          and senior executives from current
12
                            “with Ex. 9”.                       and potential business partners of
13                                                              Meta. This text contains confidential,
                                                                non-public information regarding
14                                                              discussions individuals who are not a
                                                                party to this litigation, and who have
15                                                              a reasonable expectation that Meta
                                                                will maintain the confidentiality of
16
                                                                confidential statements made during
17                                                              potential partnership conversations.
       75.    Exhibit N2    Dkt. No. 642-3, Exhibit 1, PX-      This document describes proprietary
18
                            2256 Zuckerberg Deposition          sources and methods for gathering
19                          (Volume 1 Exhibits)                 market research. This information
                                                                contains nonpublic and confidential
20                                                              data or research regarding internal
                                                                user data, including proprietary
21                                                              methods for obtaining that data or
22                                                              conducting that research. This
                                                                information has never been disclosed
23                                                              publicly and the Meta’s product
                                                                team treats it as strictly confidential.
24                                                              If publicly revealed, this information
                                                                could influence the competitive
25                                                              decision-making and business
26                                                              strategies employed by Meta’s
                                                                competitors, for example by
27                                                              influencing how those competitors

28   No. 3:20-cv-08570-JD                         -28-        DECLARATION OF AMRISH ACHARYA ISO
                                                                OMNIBUS MOTION TO SEAL MATERIALS
                                                              SUBMITTED IN CONNECTION WITH CLASS
                                                               CERTIFICATION AND DAUBERT BRIEFING
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      No.
 2               No.                 Sealed
                                                               conduct market research on U.S.
 3
                                                               users.
 4     76.    Exhibit N3    Dkt. No. 642-3, Exhibit 2, PX-     This document describes proprietary
                            0414 Olivan Deposition             sources and methods for gathering
 5
                            (Volume 1 Exhibits),               market research. This information
 6                                                             contains nonpublic and confidential
                                                               data or research regarding app
 7                                                             performance data, including
                                                               proprietary methods for obtaining
 8                                                             that data or conducting that research.
                                                               This information has never been
 9
                                                               disclosed publicly and the Meta’s
10                                                             product team treats it as strictly
                                                               confidential. If publicly revealed,
11                                                             this information could influence the
                                                               competitive decision-making and
12                                                             business strategies employed by
                                                               Meta’s competitors, for example by
13
                                                               influencing how those competitors
14                                                             conduct market research and how
                                                               they distinguish themselves from
15                                                             Meta.
16     77.    Exhibit N3    Dkt. No. 642-3, Exhibit 2, PX-     This text reveals email addresses or
                            0414 Olivan Deposition             phone numbers of current or former
17                          (Volume 1 Exhibits), email         employees of Meta. These current or
                            addresses of Meta employees        former employees have a legitimate,
18                                                             legally recognized privacy interest in
19                                                             protecting their contact information
                                                               from public disclosure. If their
20                                                             contact information were to be
                                                               publicly disclosed, they may be
21                                                             subject to repeated inquiries from the
                                                               press or members of the general
22                                                             public, which could rise to the level
23                                                             of threats or harassment, given the
                                                               current media attention on Meta.
24     78.    Exhibit N4    Dkt. No. 642-3, Exhibit 4, PX- This document contains nonpublic
25                          2862 Priell Deposition (Volume and confidential data or research
                            1 Exhibits)                    regarding internal user data,
26                                                         including proprietary methods for
                                                           obtaining that data or conducting
27                                                         that research. This information has
28   No. 3:20-cv-08570-JD                        -29-        DECLARATION OF AMRISH ACHARYA ISO
                                                               OMNIBUS MOTION TO SEAL MATERIALS
                                                             SUBMITTED IN CONNECTION WITH CLASS
                                                              CERTIFICATION AND DAUBERT BRIEFING
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 1            Vanderslice      Document or Portion of
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               Decl. Ex.       Document Sought to Be                     Basis for Sealing
      No.
 2               No.                 Sealed
                                                               never been disclosed publicly and
 3
                                                               the Meta’s product team treats it as
 4                                                             strictly confidential. If publicly
                                                               revealed, this information could
 5                                                             influence the competitive decision-
                                                               making and business strategies
 6                                                             employed by Meta’s competitors, for
                                                               example by influencing how those
 7
                                                               competitors conduct market
 8                                                             research.
       79.    Exhibit N5    Dkt. No. 642-3, Exhibit 6, PX-     This document describes market
 9
                            0020 Patel Deposition (Volume      research data and information
10                          1 Exhibits)                        obtained through proprietary sources
                                                               and methods. This text reflects user
11                                                             data calculated or derived from
                                                               Meta’s internal market research
12                                                             which is non-public information, and
                                                               if revealed to competitors and
13
                                                               potential business counterparties,
14                                                             could be used to disadvantage Meta.
                                                               For example, if competitor platforms
15                                                             became aware of this information,
                                                               they could use it to inform their own
16                                                             strategies, improperly leveraging
17                                                             Meta’s data in an effort to compete
                                                               unfairly against Meta.
18     80.    Exhibit N6    Dkt. No. 642-3, Exhibit 8, PX-     This text describes bilateral meetings
                            0557 Schultz Deposition            with government officials as well as
19
                            (Volume 1 Exhibits), at PALM-      senior executives from current and
20                          01460331-332, under heading        potential business partners of Meta.
                            ‘Davos Meetings’                   This text contains confidential, non-
21                                                             public information regarding a non-
                                                               party and implicates the nonparty’s
22                                                             confidentiality interests, by revealing
23                                                             the identity of an individual who is
                                                               not a party to this litigation, and who
24                                                             has a reasonable expectation that
                                                               Meta will maintain the
25                                                             confidentiality of statements during
                                                               potential partnership conversations.
26
       81.    Exhibit N6    Dkt. No. 642-3, Exhibit 8, PX-     This text describes bilateral meetings
27                          0557 Schultz Deposition            with government officials as well as
28   No. 3:20-cv-08570-JD                        -30-        DECLARATION OF AMRISH ACHARYA ISO
                                                               OMNIBUS MOTION TO SEAL MATERIALS
                                                             SUBMITTED IN CONNECTION WITH CLASS
                                                              CERTIFICATION AND DAUBERT BRIEFING
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 1            Vanderslice      Document or Portion of
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               Decl. Ex.       Document Sought to Be                     Basis for Sealing
      No.
 2               No.                   Sealed
                            (Volume 1 Exhibits), Pages         senior executives from current and
 3
                            PALM-01460333-338 (after           potential business partners of Meta.
 4                          “MEETINGS”)                        This text contains confidential, non-
                                                               public information regarding a non-
 5                                                             party and implicates the nonparty’s
                                                               confidentiality interests, by revealing
 6                                                             the identity of an individual who is
                                                               not a party to this litigation, and who
 7
                                                               has a reasonable expectation that
 8                                                             Meta will maintain the
                                                               confidentiality of statements during
 9                                                             potential partnership conversations.
10     82.    Exhibit N6    Dkt. No. 642-3, Exhibit 8, PX-     This text reveals email addresses or
                            0557 Schultz Deposition            phone numbers of current or former
11                          (Volume 1 Exhibits), email         employees of Meta. These current or
                            addresses of Meta employees        former employees have a legitimate,
12                                                             legally recognized privacy interest in
                                                               protecting their contact information
13
                                                               from public disclosure. If their
14                                                             contact information were to be
                                                               publicly disclosed, they may be
15                                                             subject to repeated inquiries from the
                                                               press or members of the general
16                                                             public, which could rise to the level
17                                                             of threats or harassment, given the
                                                               current media attention on Meta.
18     83.    Exhibit N7    Dkt. No. 642-3, Exhibit 14, PX- This document contains confidential,
                            1317 Chang Deposition           non-public information regarding
19
                            (Volume 1 Exhibits)             Meta’s internal business strategies
20                                                          and analyses, including summaries
                                                            and discussions of Meta’s internal
21                                                          modeling and assessments of its
                                                            products that reveal competitively
22                                                          sensitive information, including how
23                                                          users or developers use and value
                                                            Meta’s products, services, how they
24                                                          operate, and potential improvements
                                                            or other product changes. Disclosure
25                                                          of this non-public information is
                                                            likely to result in competitive harm
26                                                          to Meta, as it reveals strategic
27                                                          decision-making which, for example,
                                                            could give a developer or business
28   No. 3:20-cv-08570-JD                        -31-        DECLARATION OF AMRISH ACHARYA ISO
                                                               OMNIBUS MOTION TO SEAL MATERIALS
                                                             SUBMITTED IN CONNECTION WITH CLASS
                                                              CERTIFICATION AND DAUBERT BRIEFING
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               Decl. Ex.       Document Sought to Be                   Basis for Sealing
      No.
 2               No.                 Sealed
                                                              partner unfair leverage in competing
 3
                                                              against or negotiating with Meta.
 4     84.    Exhibit N8    Dkt. No. 642-3, Exhibit 16, PX- This document describes the
                            1322 Chang Deposition           negotiation of specific contract terms
 5
                            (Volume 1 Exhibits)             between Meta and Ticketmaster.
 6                                                          This text contains confidential, non-
                                                            public information regarding a non-
 7                                                          party developer and implicates their
                                                            confidentiality interests, by revealing
 8                                                          the identity of a Meta developer who
                                                            is not party to this litigation, and
 9
                                                            who has a reasonable expectation
10                                                          that Meta will maintain the
                                                            confidentiality of contractual terms
11                                                          and its own confidential statements
                                                            made during negotiations. Further,
12                                                          disclosure of this non-public
                                                            information is likely to result in
13
                                                            competitive harm to Meta, as it
14                                                          reveals strategic decision-making,
                                                            which, for example, could give a
15                                                          competitor or potential business
                                                            partner unfair leverage in competing
16                                                          against or negotiating with Meta.
17                                                          Moreover, Meta’s competitors could
                                                            use this non-party information to
18                                                          unfairly target Meta’s developer.
       85.    Exhibit N9    Dkt. No. 642-3, Exhibit 19        This text describes specific contract
19
                            (Volume 1 Exhibits), Pages -      terms between Meta and app
20                          856-858 (between “Section 2”      developers. This text contains
                            and “Section 3”)                  confidential, non-public information
21                                                            regarding a non-party developer.
                                                              Disclosure of this non-public
22                                                            information is likely to result in
23                                                            competitive harm to Meta, as it
                                                              reveals strategic decision-making,
24                                                            which, for example, could give a
                                                              competitor or potential business
25                                                            partner unfair leverage in competing
                                                              against or negotiating with Meta.
26                                                            Moreover, Meta’s competitors could
27                                                            use this non-party information to
                                                              unfairly target Meta’s developers.
28   No. 3:20-cv-08570-JD                         -32-     DECLARATION OF AMRISH ACHARYA ISO
                                                             OMNIBUS MOTION TO SEAL MATERIALS
                                                           SUBMITTED IN CONNECTION WITH CLASS
                                                            CERTIFICATION AND DAUBERT BRIEFING
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 3     86.    Exhibit N9    Dkt. No. 642-3, Exhibit 19       This text describes specific contract
                            (Volume 1 Exhibits), page        terms between Meta and app
 4                          PALM-012438858, “Section 3:      developers. This text contains
                            Integration Partnerships”        confidential, non-public information
 5                                                           regarding a non-party developer.
                                                             Disclosure of this non-public
 6
                                                             information is likely to result in
 7                                                           competitive harm to Meta, as it
                                                             reveals strategic decision-making,
 8                                                           which, for example, could give a
                                                             competitor or potential business
 9                                                           partner unfair leverage in competing
                                                             against or negotiating with Meta.
10
                                                             Moreover, Meta’s competitors could
11                                                           use this non-party information to
                                                             unfairly target Meta’s developers.
12
       87.    Exhibit N9    Dkt. No. 642-3, Exhibit 19       This text describes specific contract
13                          (Volume 1 Exhibits), page        terms between Meta and app
                            PALM-012438861, from             developers. This text contains
14                          “Integration Partnerships—       confidential, non-public information
                            Messenger” to “Integration       regarding a non-party developer.
15                          Partnerships—WhatApp”            Disclosure of this non-public
                                                             information is likely to result in
16
                                                             competitive harm to Meta, as it
17                                                           reveals strategic decision-making,
                                                             which, for example, could give a
18                                                           competitor or potential business
                                                             partner unfair leverage in competing
19                                                           against or negotiating with Meta.
20                                                           Moreover, Meta’s competitors could
                                                             use this non-party information to
21                                                           unfairly target Meta’s developers.
       88.    Exhibit N9    Dkt. No. 642-3, Exhibit 19       This text reveals the identity of
22
                            (Volume 1 Exhibits), page        specific app developers who have
23                          PALM-012438865-66, list          entered contracts with Meta. This
                            under “messaging functionality   text contains confidential, non-public
24                          of Facebook:”.                   information regarding a non-party
                                                             developer and implicates their
25                                                           confidentiality interests, by revealing
26                                                           the identity of a Meta developer who
                                                             is not party to this litigation, and
27                                                           who has a reasonable expectation
                                                             that Meta will maintain the
28   No. 3:20-cv-08570-JD                        -33-    DECLARATION OF AMRISH ACHARYA ISO
                                                           OMNIBUS MOTION TO SEAL MATERIALS
                                                         SUBMITTED IN CONNECTION WITH CLASS
                                                          CERTIFICATION AND DAUBERT BRIEFING
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                                                           confidentiality of contractual terms
 3
                                                           and its own confidential statements
 4                                                         made during negotiations. Moreover,
                                                           Meta’s competitors could use this
 5                                                         non-party information to unfairly
                                                           target Meta’s developers.
 6
       89.    Exhibit N10   Dkt. No. 642-3, Exhibit 20     This document is a confidential
 7                          (Volume 1 Exhibits)            agreement between Meta and an app
                                                           developer. This text contains
 8                                                         confidential, non-public information
                                                           regarding a non-party developer, and
 9
                                                           implicates their confidentiality
10                                                         interests, by revealing the identity of
                                                           a Meta developer who is not party to
11                                                         this litigation, and who has a
                                                           reasonable expectation that Meta
12                                                         will maintain the confidentiality of
                                                           contractual terms and its own
13
                                                           confidential statements made during
14                                                         negotiations. Further, disclosure of
                                                           this non-public information is likely
15                                                         to result in competitive harm to
                                                           Meta, as it reveals strategic decision-
16                                                         making, which, for example, could
17                                                         give a competitor or potential
                                                           business partner unfair leverage in
18                                                         competing against or negotiating
                                                           with Meta. Moreover, Meta’s
19                                                         competitors could use this non-party
                                                           information to unfairly target Meta’s
20                                                         developer.
21     90.    Exhibit N11   Dkt. No. 642-4, Exhibit 21     This document is a confidential
                            (Volume 2 Exhibits)            agreement between Meta and an app
22                                                         developer. This text contains
23                                                         confidential, non-public information
                                                           regarding a non-party developer, and
24                                                         implicates their confidentiality
                                                           interests, by revealing the identity of
25                                                         a Meta developer who is not party to
                                                           this litigation, and who has a
26                                                         reasonable expectation that Meta
27                                                         will maintain the confidentiality of
                                                           contractual terms and its own
28   No. 3:20-cv-08570-JD                        -34-    DECLARATION OF AMRISH ACHARYA ISO
                                                           OMNIBUS MOTION TO SEAL MATERIALS
                                                         SUBMITTED IN CONNECTION WITH CLASS
                                                          CERTIFICATION AND DAUBERT BRIEFING
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                                                             confidential statements made during
 3
                                                             negotiations. Further, disclosure of
 4                                                           this non-public information is likely
                                                             to result in competitive harm to
 5                                                           Meta, as it reveals strategic decision-
                                                             making, which, for example, could
 6                                                           give a competitor or potential
                                                             business partner unfair leverage in
 7
                                                             competing against or negotiating
 8                                                           with Meta. Moreover, Meta’s
                                                             competitors could use this non-party
 9                                                           information to unfairly target Meta’s
                                                             developer.
10
       91.    Exhibit N12   Dkt. No. 642-4, Exhibit 23       This text reveals confidential
11                          (Volume 2 Exhibits), Page -190   information regarding Netflix’s ad
                            (figure in fifth row, second     spend on Meta. This text contains
12                          column from right)               confidential, non-public information
                                                             regarding an advertiser and
13
                                                             implicates their confidentiality
14                                                           interests, by revealing the
                                                             confidential business information of
15                                                           a Meta advertiser who is not party to
                                                             this litigation, and who has a
16                                                           reasonable expectation that Meta
17                                                           will maintain the confidentiality of
                                                             contractual terms and its own
18                                                           confidential statements made during
                                                             negotiations. Further, disclosure of
19                                                           this non-public information is likely
                                                             to result in competitive harm to
20                                                           Meta, as it reveals strategic decision-
21                                                           making, which, for example, could
                                                             give a competitor or potential
22                                                           business partner unfair leverage in
                                                             competing against or negotiating
23                                                           with Meta. Moreover, Meta’s
                                                             competitors could use this non-party
24                                                           information to unfairly target Meta’s
25                                                           advertiser.
       92.    Exhibit N12   Dkt. No. 642-4, Exhibit 23       This information reflects and is
26                          (Volume 2 Exhibits), pages       calculated from internal, non-public
27                          PALM-011831167-68, Section       Meta financial data. Were this
                                                             information to be publicly revealed,
28   No. 3:20-cv-08570-JD                        -35-    DECLARATION OF AMRISH ACHARYA ISO
                                                           OMNIBUS MOTION TO SEAL MATERIALS
                                                         SUBMITTED IN CONNECTION WITH CLASS
                                                          CERTIFICATION AND DAUBERT BRIEFING
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                            6 “Re-Authorization of Equity     it could cause Meta competitive
 3
                            Subcommittee Delegation”          harm by giving competitors insight
 4                                                            into confidential Meta financial
                                                              information.
 5
       93.    Exhibit N12   Dkt. No. 642-4, Exhibit 23        This information reflects and is
 6                          (Volume 2 Exhibits), pages        calculated from internal, non-public
                            PALM-011831168-69, Section        Meta financial data. Were this
 7                          7 “Equity Pool Evergreen          information to be publicly revealed,
                            Increase”                         it could cause Meta competitive
 8                                                            harm by giving competitors insight
                                                              into confidential Meta financial
 9
                                                              information.
10     94.    Exhibit N12   Dkt. No. 642-4, Exhibit 23        This information reflects and is
                            (Volume 2 Exhibits), page         calculated from internal, non-public
11
                            PALM-011831171                    Meta financial data. Were this
12                                                            information to be publicly revealed,
                                                              it could cause Meta competitive
13                                                            harm by giving competitors insight
                                                              into confidential Meta financial
14                                                            information
15     95.    Exhibit N13   Dkt. No. 642-4, Exhibit 25        This document describes the
                            (Volume 2 Exhibits), Page -654    negotiation of specific contract terms
16                          (between “1.” and “My             between Meta and Netflix. This text
                            recommendation”)                  contains non-public and confidential
17
                                                              information regarding Meta’s
18                                                            agreements with a business partner
                                                              as well as internal strategy relating to
19                                                            those agreements. Disclosure of this
                                                              non-public information is likely to
20                                                            result in competitive harm to Meta,
                                                              as it reveals strategic decision-
21
                                                              making which, for example, could
22                                                            give an ad venue or business partner
                                                              unfair leverage in competing against
23                                                            or negotiating with Meta. Moreover,
                                                              Meta’s competitors could use this
24                                                            non-party information to unfairly
25                                                            target Meta’s business partners and
                                                              offer specific deal terms designed to
26                                                            undercut those offered by Meta.

27

28   No. 3:20-cv-08570-JD                        -36-       DECLARATION OF AMRISH ACHARYA ISO
                                                              OMNIBUS MOTION TO SEAL MATERIALS
                                                            SUBMITTED IN CONNECTION WITH CLASS
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 3     96.    Exhibit N13   Dkt. No. 642-4, Exhibit 25       This document describes the
                            (Volume 2 Exhibits), Page -655   negotiation of specific contract terms
 4                          (email from Andrew Bosworth)     between Meta and Netflix. This text
                                                             contains non-public and confidential
 5                                                           information regarding Meta’s
                                                             agreements with a business partner
 6
                                                             as well as internal strategy relating to
 7                                                           those agreements. Disclosure of this
                                                             non-public information is likely to
 8                                                           result in competitive harm to Meta,
                                                             as it reveals strategic decision-
 9                                                           making which, for example, could
                                                             give an ad venue or business partner
10
                                                             unfair leverage in competing against
11                                                           or negotiating with Meta. Moreover,
                                                             Meta’s competitors could use this
12                                                           non-party information to unfairly
                                                             target Meta’s business partners and
13                                                           offer specific deal terms designed to
                                                             undercut those offered by Meta. This
14
                                                             text also contains confidential,
15                                                           proprietary, and commercially
                                                             sensitive information regarding the
16                                                           technical functionalities and
                                                             processes of Meta’s ad targeting and
17                                                           delivery systems. If publicly
18                                                           revealed, this information could
                                                             influence the competitive decision-
19                                                           making and business strategies
                                                             employed by Meta’s competitors in
20                                                           advertising.
21     97.    Exhibit N13   Dkt. No. 642-4, Exhibit 25       This text reveals email addresses or
                            (Volume 2 Exhibits), email       phone numbers of current or former
22                          address of Meta employees        employees of Meta. These current or
                                                             former employees have a legitimate,
23                                                           legally recognized privacy interest in
24                                                           protecting their contact information
                                                             from public disclosure. If their
25                                                           contact information were to be
                                                             publicly disclosed, they may be
26                                                           subject to repeated inquiries from the
                                                             press or members of the general
27                                                           public, which could rise to the level
28   No. 3:20-cv-08570-JD                        -37-    DECLARATION OF AMRISH ACHARYA ISO
                                                           OMNIBUS MOTION TO SEAL MATERIALS
                                                         SUBMITTED IN CONNECTION WITH CLASS
                                                          CERTIFICATION AND DAUBERT BRIEFING
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                                                           of threats or harassment, given the
 3
                                                           current media attention on Meta.
 4     98.    Exhibit N14   Dkt. No. 642-4, Exhibit 35     This document describes
                            (Volume 2 Exhibits)            confidential financial information
 5
                                                           and data, and sensitive product
 6                                                         strategy discussions. This
                                                           information reflects and is calculated
 7                                                         from internal, nonpublic Meta
                                                           financial data. Meta spends
 8                                                         significant resources compiling and
                                                           maintaining this valuable data,
 9
                                                           which is non-public, and if revealed
10                                                         to competitors and potential business
                                                           counterparties, could be used to
11                                                         disadvantage and cause Meta
                                                           competitive harm by giving
12                                                         competitors insight into confidential
                                                           Meta financial information. Further,
13
                                                           this information reflects sensitive,
14                                                         highly confidential characterizations
                                                           by Meta’s internal business teams
15                                                         that, if revealed, could be referenced
                                                           by potential counterparties in
16                                                         negotiations with Meta to gain an
17                                                         unfair advantage against Meta.
       99.    Exhibit N15   Dkt. No. 642-4, Exhibit 36     This document describes proprietary
18                          (Volume 2 Exhibits)            market research and analysis on a
                                                           Meta competitor. This text contains
19
                                                           non-public and confidential
20                                                         information regarding Meta’s
                                                           agreements with an advertiser as
21                                                         well as internal strategy relating to
                                                           those agreements. Disclosure of this
22                                                         non-public information is likely to
23                                                         result in competitive harm to Meta,
                                                           as it reveals strategic decision-
24                                                         making which, for example, could
                                                           give an advertiser unfair leverage in
25                                                         competing against or negotiating
                                                           with Meta. Moreover, Meta’s
26                                                         competitors could use this non-party
27                                                         information to unfairly target Meta’s
                                                           advertisers and offer specific deal
28   No. 3:20-cv-08570-JD                        -38-    DECLARATION OF AMRISH ACHARYA ISO
                                                           OMNIBUS MOTION TO SEAL MATERIALS
                                                         SUBMITTED IN CONNECTION WITH CLASS
                                                          CERTIFICATION AND DAUBERT BRIEFING
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                                                              terms designed to undercut those
 3
                                                              offered by Meta.
 4     100.   Exhibit N16   Dkt. No. 642-4, Exhibit 38, PX- This document describes proprietary
                            1926 Sandberg Deposition        market research and analysis on a
 5
                            (Volume 2 Exhibits)             Meta competitor. This text contains
 6                                                          non-public and confidential
                                                            information regarding Meta’s
 7                                                          agreements with an advertiser as
                                                            well as internal strategy relating to
 8                                                          those agreements. Disclosure of this
                                                            non-public information is likely to
 9
                                                            result in competitive harm to Meta,
10                                                          as it reveals strategic decision-
                                                            making which, for example, could
11                                                          give an advertiser unfair leverage in
                                                            competing against or negotiating
12                                                          with Meta. Moreover, Meta’s
                                                            competitors could use this non-party
13
                                                            information to unfairly target Meta’s
14                                                          advertisers and offer specific deal
                                                            terms designed to undercut those
15                                                          offered by Meta.
16     101.   Exhibit N17   Dkt. No. 642-4, Exhibit 39, PX-   This text describes confidential
                            0610 Hastings Deposition          pricing information. This
17                          (Volume 2 Exhibits), Page -295    information reveals Meta’s internal
                            (between “guess that” and         non-public pricing information for
18                          “CPMs is a reasonable             advertising on Meta’s products or
                            estimate”)                        services, including how those prices
19
                                                              can be determined. This information
20                                                            is not otherwise publicly reported by
                                                              the company and disclosure is likely
21                                                            to cause Meta competitive harm and
                                                              give its competitors an unfair
22                                                            advantage. Meta’s competitors could
23                                                            improperly utilize this internal, non-
                                                              public information to modify or
24                                                            augment their business operations in
                                                              an effort to compete unfairly against
25                                                            Meta.
26     102.   Exhibit N17   Dkt. No. 642-4, Exhibit 39, PX- This text reveals email addresses or
                            0610 Hastings Deposition        phone numbers of current or former
27                                                          employees of Meta. These current or
28   No. 3:20-cv-08570-JD                        -39-     DECLARATION OF AMRISH ACHARYA ISO
                                                            OMNIBUS MOTION TO SEAL MATERIALS
                                                          SUBMITTED IN CONNECTION WITH CLASS
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                            (Volume 2 Exhibits), email      former employees have a legitimate,
 3
                            addresses of Meta employees     legally recognized privacy interest in
 4                                                          protecting their contact information
                                                            from public disclosure. If their
 5                                                          contact information were to be
                                                            publicly disclosed, they may be
 6                                                          subject to repeated inquiries from the
                                                            press or members of the general
 7
                                                            public, which could rise to the level
 8                                                          of threats or harassment, given the
                                                            current media attention on Meta.
 9
       103.   Exhibit N18   Dkt. No. 642-5, Exhibit 42      This document describes the
10                          (Volume 3 Exhibits)             negotiation of specific contract terms
                                                            between Meta and Google. This text
11                                                          contains non-public and confidential
                                                            information regarding Meta’s
12                                                          agreements with a business partner
                                                            as well as internal strategy relating to
13
                                                            those agreements. Disclosure of this
14                                                          non-public information is likely to
                                                            result in competitive harm to Meta,
15                                                          as it reveals strategic decision-
                                                            making which, for example, could
16                                                          give an ad venue or business partner
17                                                          unfair leverage in competing against
                                                            or negotiating with Meta. Moreover,
18                                                          Meta’s competitors could use this
                                                            non-party information to unfairly
19                                                          target Meta’s business partners and
                                                            offer specific deal terms designed to
20                                                          undercut those offered by Meta.
21     104.   Exhibit N19   Dkt. No. 642-5, Exhibit 43      This document describes the
                            (Volume 3 Exhibits)             negotiation of specific contract terms
22                                                          between Meta and Google. This text
23                                                          contains non-public and confidential
                                                            information regarding Meta’s
24                                                          agreements with a business partner
                                                            as well as internal strategy relating to
25                                                          those agreements. Disclosure of this
                                                            non-public information is likely to
26                                                          result in competitive harm to Meta,
27                                                          as it reveals strategic decision-
                                                            making which, for example, could
28   No. 3:20-cv-08570-JD                        -40-     DECLARATION OF AMRISH ACHARYA ISO
                                                            OMNIBUS MOTION TO SEAL MATERIALS
                                                          SUBMITTED IN CONNECTION WITH CLASS
                                                           CERTIFICATION AND DAUBERT BRIEFING
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                                                              give an ad venue or business partner
 3
                                                              unfair leverage in competing against
 4                                                            or negotiating with Meta. Moreover,
                                                              Meta’s competitors could use this
 5                                                            non-party information to unfairly
                                                              target Meta’s business partners and
 6                                                            offer specific deal terms designed to
                                                              undercut those offered by Meta.
 7
       105.   Exhibit N20   Dkt. No. 642-5, Exhibit 44, PX- This document describes the
 8                          1704 Crum Deposition            negotiation of specific contract terms
                            (Volume 3 Exhibits)             between Meta and Google. This text
 9
                                                            contains non-public and confidential
10                                                          information regarding Meta’s
                                                            agreements with a business partner
11                                                          as well as internal strategy relating to
                                                            those agreements. Disclosure of this
12                                                          non-public information is likely to
                                                            result in competitive harm to Meta,
13
                                                            as it reveals strategic decision-
14                                                          making which, for example, could
                                                            give an ad venue or business partner
15                                                          unfair leverage in competing against
                                                            or negotiating with Meta. Moreover,
16                                                          Meta’s competitors could use this
17                                                          non-party information to unfairly
                                                            target Meta’s business partners and
18                                                          offer specific deal terms designed to
                                                            undercut those offered by Meta.
19
       106.   Exhibit N21   Dkt. No. 642-5, Exhibit 47, PX- This document describes future
20                          1709 Crum Deposition            potential business plans and strategy
                            (Volume 3 Exhibits)             with respect to header bidding. This
21                                                          information contains non-public
                                                            information regarding Meta’s
22                                                          confidential non-public internal
23                                                          strategic considerations related to
                                                            Meta’s advertising product and
24                                                          feature development. This
                                                            information has never been disclosed
25                                                          publicly. Disclosure of this
                                                            information would adversely impact
26                                                          Meta’s current competitive position
27                                                          by enabling Meta’s competitors to
                                                            mimic its confidential strategies.
28   No. 3:20-cv-08570-JD                         -41-     DECLARATION OF AMRISH ACHARYA ISO
                                                             OMNIBUS MOTION TO SEAL MATERIALS
                                                           SUBMITTED IN CONNECTION WITH CLASS
                                                            CERTIFICATION AND DAUBERT BRIEFING
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 3     107.   Exhibit N22   Dkt. No. 642-5, Exhibit 48,       This document describes technical
                            excerpts from Deposition of       aspects of Meta's advertising
 4                          Stephanie Wang, dated March       products and future potential
                            28, 2023 (Volume 3 Exhibits)      business plans regarding relationship
 5                                                            with Google. This information
                                                              contains confidential, proprietary,
 6
                                                              and commercially sensitive
 7                                                            information regarding the technical
                                                              functionalities and processes of
 8                                                            Meta’s ad targeting and delivery
                                                              systems. This information has never
 9                                                            been disclosed publicly and Meta’s
                                                              product team treats it as strictly
10
                                                              confidential. If publicly revealed,
11                                                            this information could influence the
                                                              competitive decision-making and
12                                                            business strategies employed by
                                                              Meta’s competitors in advertising.
13
       108.   Exhibit N23   Dkt. No. 642-5, Exhibit 49,       This document describes technical
14                          excerpts from Deposition of       aspects of Meta's advertising
                            Henry Crum, dated May 25,         products and future potential
15                          2023 (Volume 3 Exhibits)          business plans regarding relationship
                                                              with Google. This information
16
                                                              contains confidential, proprietary,
17                                                            and commercially sensitive
                                                              information regarding the technical
18                                                            functionalities and processes of
                                                              Meta’s ad targeting and delivery
19                                                            systems. This information has never
20                                                            been disclosed publicly and Meta’s
                                                              product team treats it as strictly
21                                                            confidential. If publicly revealed,
                                                              this information could influence the
22                                                            competitive decision-making and
                                                              business strategies employed by
23                                                            Meta’s competitors in advertising.
24     109.   Exhibit N24   Dkt. No. 642-5, Exhibit 50, PX- This document describes the
                            1295 Jakubowski Deposition      negotiation of specific contract terms
25                          (Volume 3 Exhibits)             between Meta and Google. This text
26                                                          contains non-public and confidential
                                                            information regarding Meta’s
27                                                          agreements with a business partner
                                                            as well as internal strategy relating to
28   No. 3:20-cv-08570-JD                         -42-     DECLARATION OF AMRISH ACHARYA ISO
                                                             OMNIBUS MOTION TO SEAL MATERIALS
                                                           SUBMITTED IN CONNECTION WITH CLASS
                                                            CERTIFICATION AND DAUBERT BRIEFING
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                                                              those agreements. Disclosure of this
 3
                                                              non-public information is likely to
 4                                                            result in competitive harm to Meta,
                                                              as it reveals strategic decision-
 5                                                            making which, for example, could
                                                              give an ad venue or business partner
 6                                                            unfair leverage in competing against
                                                              or negotiating with Meta. Moreover,
 7
                                                              Meta’s competitors could use this
 8                                                            non-party information to unfairly
                                                              target Meta’s business partners and
 9                                                            offer specific deal terms designed to
                                                              undercut those offered by Meta.
10
       110.   Exhibit N25   Dkt. No. 642-5, Exhibit 52, PX- This document describes the
11                          1708 Crum Deposition            negotiation of specific contract terms
                            (Volume 3 Exhibits)             between Meta and Google. This text
12                                                          contains non-public and confidential
                                                            information regarding Meta’s
13
                                                            agreements with a business partner
14                                                          as well as internal strategy relating to
                                                            those agreements. Disclosure of this
15                                                          non-public information is likely to
                                                            result in competitive harm to Meta,
16                                                          as it reveals strategic decision-
17                                                          making which, for example, could
                                                            give an ad venue or business partner
18                                                          unfair leverage in competing against
                                                            or negotiating with Meta. Moreover,
19                                                          Meta’s competitors could use this
                                                            non-party information to unfairly
20                                                          target Meta’s business partners and
21                                                          offer specific deal terms designed to
                                                            undercut those offered by Meta.
22     111.   Exhibit N26   Dkt. No. 642-5, Exhibit 54, PX- This document describes the
23                          1712 Crum Deposition            negotiation of specific contract terms
                            (Volume 3 Exhibits)             between Meta and Google. This text
24                                                          contains non-public and confidential
                                                            information regarding Meta’s
25                                                          agreements with a business partner
                                                            as well as internal strategy relating to
26                                                          those agreements. Disclosure of this
27                                                          non-public information is likely to
                                                            result in competitive harm to Meta,
28   No. 3:20-cv-08570-JD                         -43-     DECLARATION OF AMRISH ACHARYA ISO
                                                             OMNIBUS MOTION TO SEAL MATERIALS
                                                           SUBMITTED IN CONNECTION WITH CLASS
                                                            CERTIFICATION AND DAUBERT BRIEFING
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                                                              as it reveals strategic decision-
 3
                                                              making which, for example, could
 4                                                            give an ad venue or business partner
                                                              unfair leverage in competing against
 5                                                            or negotiating with Meta. Moreover,
                                                              Meta’s competitors could use this
 6                                                            non-party information to unfairly
                                                              target Meta’s business partners and
 7
                                                              offer specific deal terms designed to
 8                                                            undercut those offered by Meta.
       112.   Exhibit N27   Dkt. No. 642-5, Exhibit 56, PX- This document contains pricing and
 9
                            1922 Sandberg Deposition        financial information relating to
10                          (Volume 3 Exhibits)             Audience Network. This information
                                                            reveals Meta’s internal non-public
11                                                          profit, revenue, and financial
                                                            calculations. These data sets are not
12                                                          otherwise publicly reported by the
                                                            company and their disclosure is
13
                                                            likely to cause Meta competitive
14                                                          harm and give its competitors an
                                                            unfair advantage. Meta’s competitors
15                                                          could improperly utilize this internal,
                                                            non-public data to modify or
16                                                          augment their business operations in
17                                                          an effort to compete unfairly against
                                                            Meta. Moreover, visibility into the
18                                                          trends in the data (i.e., figures across
                                                            multiple years) gives Meta’s
19                                                          competitors improper insight into the
                                                            financial health and future outlook of
20                                                          Meta’s product development and
21                                                          advertising business, which also
                                                            arguably gives Meta’s competitors
22                                                          an unfair advantage.

23     113.   Exhibit N28   Dkt. No. 642-5, Exhibit 57, PX- This document describes the
                            1921 Sandberg Deposition        negotiation of specific contract terms
24                          (Volume 3 Exhibits)             between Meta and Google. This text
                                                            contains non-public and confidential
25                                                          information regarding Meta’s
                                                            agreements with a business partner
26                                                          as well as internal strategy relating to
27                                                          those agreements. Disclosure of this
                                                            non-public information is likely to
28   No. 3:20-cv-08570-JD                         -44-     DECLARATION OF AMRISH ACHARYA ISO
                                                             OMNIBUS MOTION TO SEAL MATERIALS
                                                           SUBMITTED IN CONNECTION WITH CLASS
                                                            CERTIFICATION AND DAUBERT BRIEFING
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                                                              result in competitive harm to Meta,
 3
                                                              as it reveals strategic decision-
 4                                                            making which, for example, could
                                                              give an ad venue or business partner
 5                                                            unfair leverage in competing against
                                                              or negotiating with Meta. Moreover,
 6                                                            Meta’s competitors could use this
                                                              non-party information to unfairly
 7
                                                              target Meta’s business partners and
 8                                                            offer specific deal terms designed to
                                                              undercut those offered by Meta.
 9
       114.   Exhibit N29   Dkt. No. 642-5, Exhibit 60, PX- This document describes the
10                          1713 Crum Deposition            negotiation of specific contract terms
                            (Volume 3 Exhibits)             between Meta and Google. This text
11                                                          contains non-public and confidential
                                                            information regarding Meta’s
12                                                          agreements with a business partner
                                                            as well as internal strategy relating to
13
                                                            those agreements. Disclosure of this
14                                                          non-public information is likely to
                                                            result in competitive harm to Meta,
15                                                          as it reveals strategic decision-
                                                            making which, for example, could
16                                                          give an ad venue or business partner
17                                                          unfair leverage in competing against
                                                            or negotiating with Meta. Moreover,
18                                                          Meta’s competitors could use this
                                                            non-party information to unfairly
19                                                          target Meta’s business partners and
                                                            offer specific deal terms designed to
20                                                          undercut those offered by Meta.
21     115.   Exhibit N30   Dkt. No. 642-6, Exhibit 61, PX- This document describes the
                            0463 Wang Deposition            negotiation of specific contract terms
22                          (Volume 4 Exhibits)             between Meta and Google. This text
23                                                          contains non-public and confidential
                                                            information regarding Meta’s
24                                                          agreements with a business partner
                                                            as well as internal strategy relating to
25                                                          those agreements. Disclosure of this
                                                            non-public information is likely to
26                                                          result in competitive harm to Meta,
27                                                          as it reveals strategic decision-
                                                            making which, for example, could
28   No. 3:20-cv-08570-JD                         -45-     DECLARATION OF AMRISH ACHARYA ISO
                                                             OMNIBUS MOTION TO SEAL MATERIALS
                                                           SUBMITTED IN CONNECTION WITH CLASS
                                                            CERTIFICATION AND DAUBERT BRIEFING
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                                                               give an ad venue or business partner
 3
                                                               unfair leverage in competing against
 4                                                             or negotiating with Meta. Moreover,
                                                               Meta’s competitors could use this
 5                                                             non-party information to unfairly
                                                               target Meta’s business partners and
 6                                                             offer specific deal terms designed to
                                                               undercut those offered by Meta.
 7
       116.   Exhibit N31   Dkt. No. 642-6, Exhibit 62, PX- This document describes the
 8                          0185 Rose Deposition (Volume negotiation of specific contract terms
                            4 Exhibits)                     between Meta and Google. This text
 9
                                                            contains non-public and confidential
10                                                          information regarding Meta’s
                                                            agreements with a business partner
11                                                          as well as internal strategy relating to
                                                            those agreements. Disclosure of this
12                                                          non-public information is likely to
                                                            result in competitive harm to Meta,
13
                                                            as it reveals strategic decision-
14                                                          making which, for example, could
                                                            give an ad platform or business
15                                                          partner unfair leverage in competing
                                                            against or negotiating with Meta.
16                                                          Moreover, Meta’s competitors could
17                                                          use this non-party information to
                                                            unfairly target Meta’s business
18                                                          partners and offer specific deal terms
                                                            designed to undercut those offered
19                                                          by Meta.
20     117.   Exhibit N32   Dkt. No. 642-6, Exhibit 63,        This document describes technical
                            excerpts of Deposition of John     aspects of Meta's advertising
21                          David Jakubowski, dated April      products and future potential
                            21, 2023 (Volume 4 Exhibits)       business plans regarding relationship
22                                                             with Google. This information
23                                                             contains confidential, proprietary,
                                                               and commercially sensitive
24                                                             information regarding the technical
                                                               functionalities and processes of
25                                                             Meta’s ad targeting and delivery
                                                               systems. This information has never
26                                                             been disclosed publicly and Meta’s
27                                                             product team treats it as strictly
                                                               confidential. If publicly revealed,
28   No. 3:20-cv-08570-JD                         -46-       DECLARATION OF AMRISH ACHARYA ISO
                                                               OMNIBUS MOTION TO SEAL MATERIALS
                                                             SUBMITTED IN CONNECTION WITH CLASS
                                                              CERTIFICATION AND DAUBERT BRIEFING
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                                                              this information could influence the
 3
                                                              competitive decision-making and
 4                                                            business strategies employed by
                                                              Meta’s competitors in advertising.
 5
       118.   Exhibit N33   Dkt. No. 642-6, Exhibit 64, PX- This document describes the
 6                          0464 Wang Deposition            negotiation of specific contract terms
                            (Volume 4 Exhibits)             between Meta and Google. This text
 7                                                          contains non-public and confidential
                                                            information regarding Meta’s
 8                                                          agreements with a business partner
                                                            as well as internal strategy relating to
 9
                                                            those agreements. Disclosure of this
10                                                          non-public information is likely to
                                                            result in competitive harm to Meta,
11                                                          as it reveals strategic decision-
                                                            making which, for example, could
12                                                          give an ad platform business partner
                                                            unfair leverage in competing against
13
                                                            or negotiating with Meta. Moreover,
14                                                          Meta’s competitors could use this
                                                            non-party information to unfairly
15                                                          target Meta’s business partners and
                                                            offer specific deal terms designed to
16                                                          undercut those offered by Meta.
17     119.   Exhibit N34   Dkt. No. 642-6, Exhibit 67        This document describes potential
                            (Volume 4 Exhibits)               changes in product functionality.
18                                                            This information contains
                                                              confidential, proprietary, and
19
                                                              commercially sensitive information
20                                                            regarding the technical
                                                              functionalities and processes of
21                                                            Meta’s ad targeting and delivery
                                                              systems. This information has never
22                                                            been disclosed publicly and Meta’s
23                                                            product team treats it as strictly
                                                              confidential. If publicly revealed,
24                                                            this information could influence the
                                                              competitive decision-making and
25                                                            business strategies employed by
                                                              Meta’s competitors in advertising.
26
       120.   Exhibit N35   Dkt. No. 642-6, Exhibit 68        This document describes technical
27                          (Volume 4 Exhibits)               aspects of Meta's infrastructure. This
28   No. 3:20-cv-08570-JD                         -47-     DECLARATION OF AMRISH ACHARYA ISO
                                                             OMNIBUS MOTION TO SEAL MATERIALS
                                                           SUBMITTED IN CONNECTION WITH CLASS
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                                                              information contains confidential,
 3
                                                              proprietary, and commercially
 4                                                            sensitive information regarding the
                                                              technical functionalities and
 5                                                            processes of Meta’s ad targeting and
                                                              content delivery systems. This
 6                                                            information has never been disclosed
                                                              publicly and Meta’s product team
 7
                                                              treats it as strictly confidential. If
 8                                                            publicly revealed, this information
                                                              could influence the competitive
 9                                                            decision-making and business
                                                              strategies employed by Meta’s
10                                                            competitors in advertising.
11     121.   Exhibit N36   Dkt. No. 642-6, Exhibit 69, PX- This document describes technical
                            0119 Parikh Deposition          aspects of Meta's infrastructure. This
12                          (Volume 4 Exhibits)             information contains confidential,
                                                            proprietary, and commercially
13
                                                            sensitive information regarding the
14                                                          technical functionalities and
                                                            processes of Meta’s ad targeting and
15                                                          content delivery systems. This
                                                            information has never been disclosed
16                                                          publicly and Meta’s product team
17                                                          treats it as strictly confidential. If
                                                            publicly revealed, this information
18                                                          could influence the competitive
                                                            decision-making and business
19                                                          strategies employed by Meta’s
                                                            competitors in advertising.
20
       122.   Exhibit N37   Dkt. No. 642-6, Exhibit 70,       This document describes technical
21                          excerpts from Deposition of Jay   aspects of Meta's infrastructure. This
                            Parikh, dated March 9, 2023       information contains confidential,
22                          (Volume 4 Exhibits)               proprietary, and commercially
23                                                            sensitive information regarding the
                                                              technical functionalities and
24                                                            processes of Meta’s ad targeting and
                                                              content delivery systems. This
25                                                            information has never been disclosed
                                                              publicly and Meta’s product team
26                                                            treats it as strictly confidential. If
27                                                            publicly revealed, this information
                                                              could influence the competitive
28   No. 3:20-cv-08570-JD                         -48-    DECLARATION OF AMRISH ACHARYA ISO
                                                            OMNIBUS MOTION TO SEAL MATERIALS
                                                          SUBMITTED IN CONNECTION WITH CLASS
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                                                               decision-making and business
 3
                                                               strategies employed by Meta’s
 4                                                             competitors in advertising.
       123.   Exhibit N38   Dkt. No. 642-6, Exhibit 72,        This text describes technical aspects
 5
                            excerpts from Deposition of        of Meta's advertising products. This
 6                          Rob Goldman, dated June 13,        information contains confidential,
                            2023 (Volume 4 Exhibits),          proprietary, and commercially
 7                          26:19-22                           sensitive information regarding the
                                                               technical functionalities and
 8                                                             processes of Meta’s ad auction. This
                                                               information has never been disclosed
 9
                                                               publicly and Meta’s product team
10                                                             treats it as strictly confidential. If
                                                               publicly revealed, this information
11                                                             could influence the competitive
                                                               decision-making and business
12                                                             strategies employed by Meta’s
                                                               competitors in advertising.
13
       124.   Exhibit N39   Dkt. No. 642-6, Exhibit 74,        This document describes Meta's
14                          excerpts from Deposition of        proprietary ad measurement
                            Jonathan Eide, dated May 9,        methodology. This information
15
                            2023 (Volume 4 Exhibits)           contains confidential, proprietary,
16                                                             and commercially sensitive
                                                               information regarding the technical
17                                                             functionalities and processes of
                                                               Meta’s ad auction delivery systems.
18                                                             This information has never been
19                                                             disclosed publicly and Meta’s
                                                               product team treats it as strictly
20                                                             confidential. If publicly revealed,
                                                               this information could influence the
21                                                             competitive decision-making and
                                                               business strategies employed by
22                                                             Meta’s competitors in advertising.
23      First Administrative Motion to File Under Seal Consumer Plaintiffs’ Notice of Motion
        and Motion for Class Certification and Appointment of Class Counsel (Dkt. No. 645)
24
       125.   Exhibit O1    Dkt. No. 645-1, Consumer           This text describes Meta's internal
25                          Plaintiffs’ Notice of Motion and   analyses and business strategy
                            Motion for Class Certification     regarding data privacy policies and
26                          and Appointment of Class           practices. This information contains
27                          Counsel, 6:3 (quoting Ex. 39)      confidential non-public details of
                                                               Meta’s product functionality and
28   No. 3:20-cv-08570-JD                         -49-    DECLARATION OF AMRISH ACHARYA ISO
                                                            OMNIBUS MOTION TO SEAL MATERIALS
                                                          SUBMITTED IN CONNECTION WITH CLASS
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                                                             strategic considerations related to
 3
                                                             feature development . This
 4                                                           information has never been disclosed
                                                             publicly and Meta’s product team
 5                                                           treats it as strictly confidential. If
                                                             publicly revealed, this information
 6                                                           could influence the competitive
                                                             decision-making and business
 7
                                                             strategies employed by Meta’s
 8                                                           competitors.
       126.   Exhibit O1    Dkt. No. 645-1, Consumer         This text describes Meta's internal
 9
                            Plaintiffs’ Notice of Motion and analyses and business strategy
                            Motion for Class Certification   regarding data privacy policies and
10
                            and Appointment of Class         practices. This information
11                          Counsel, 6:7-10                  confidential non-public details of
                                                             Meta’s product functionality and
12                                                           strategic considerations related to
                                                             feature development. This
13                                                           information has never been disclosed
14                                                           publicly and Meta’s product team
                                                             treats it as strictly confidential. If
15                                                           publicly revealed, this information
                                                             could influence the competitive
16                                                           decision-making and business
                                                             strategies employed by Meta’s
17                                                           competitors.
18     127.   Exhibit O1    Dkt. No. 645-1, Consumer         This text describes Meta's internal
                            Plaintiffs’ Notice of Motion and analyses and business strategy
19                          Motion for Class Certification   regarding data privacy policies and
                            and Appointment of Class         practices. This information contains
20                          Counsel, 8:19-21                 confidential non-public details of
                                                             Meta’s product functionality and
21                                                           strategic considerations related to
22                                                           feature development . This
                                                             information has never been disclosed
23                                                           publicly and Meta’s product team
                                                             treats it as strictly confidential. If
24                                                           publicly revealed, this information
                                                             could influence the competitive
25
                                                             decision-making and business
26                                                           strategies employed by Meta’s
                                                             competitors.
27

28   No. 3:20-cv-08570-JD                         -50-    DECLARATION OF AMRISH ACHARYA ISO
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       128.   Exhibit O1    Dkt. No. 645-1, Consumer         This text describes Meta's internal
 3
                            Plaintiffs’ Notice of Motion and analyses and business strategy
 4                          Motion for Class Certification   regarding data privacy policies and
                            and Appointment of Class         practices. This information contains
 5                          Counsel, 11:16-17                confidential non-public details of
                                                             Meta’s product functionality and
 6                                                           strategic considerations related to
                                                             feature development. This
 7
                                                             information has never been disclosed
 8                                                           publicly and Meta’s product team
                                                             treats it as strictly confidential. If
 9                                                           publicly revealed, this information
                                                             could influence the competitive
10                                                           decision-making and business
                                                             strategies employed by Meta’s
11
                                                             competitors.
12     129.   Exhibit O1    Dkt. No. 645-1, Consumer         This text describes Meta's internal
                            Plaintiffs’ Notice of Motion and analyses and business strategy
13                          Motion for Class Certification   regarding data privacy policies and
                            and Appointment of Class         practices. This information contains
14                                                           confidential non-public details of
                            Counsel, 11:21-12:6, 10-12
15                                                           Meta’s product functionality and
                                                             strategic considerations related to
16                                                           feature development . This
                                                             information has never been disclosed
17                                                           publicly and Meta’s product team
                                                             treats it as strictly confidential. If
18                                                           publicly revealed, this information
19                                                           could influence the competitive
                                                             decision-making and business
20                                                           strategies employed by Meta’s
                                                             competitors.
21                                                           This text describes Meta's internal
       130.   Exhibit O1    Dkt. No. 645-1, Consumer
22                          Plaintiffs’ Notice of Motion and analyses and business strategy
                            Motion for Class Certification   regarding data privacy policies and
23                          and Appointment of Class         practices. This information contains
                            Counsel, 13:4-9                  confidential non-public details of
24                                                           Meta’s product functionality and
                                                             strategic considerations related to
25                                                           feature development. This
                                                             information has never been disclosed
26
                                                             publicly and Meta’s product team
27                                                           treats it as strictly confidential. If
                                                             publicly revealed, this information
28   No. 3:20-cv-08570-JD                         -51-    DECLARATION OF AMRISH ACHARYA ISO
                                                            OMNIBUS MOTION TO SEAL MATERIALS
                                                          SUBMITTED IN CONNECTION WITH CLASS
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                                                             could influence the competitive
 3
                                                             decision-making and business
 4                                                           strategies employed by Meta’s
                                                             competitors.
 5     131.   Exhibit O1    Dkt. No. 645-1, Consumer         This text describes Meta's internal
                            Plaintiffs’ Notice of Motion and analyses and business strategy
 6                          Motion for Class Certification   regarding data privacy policies and
                            and Appointment of Class         practices. This information contains
 7
                            Counsel, 14:4-5                  confidential non-public details of
 8                                                           Meta’s product functionality and
                                                             strategic considerations related to
 9                                                           feature development. This
                                                             information has never been disclosed
10                                                           publicly and Meta’s product team
11                                                           treats it as strictly confidential. If
                                                             publicly revealed, this information
12                                                           could influence the competitive
                                                             decision-making and business
13                                                           strategies employed by Meta’s
                                                             competitors.
14     132.   Exhibit O1    Dkt. No. 645-1, Consumer         This text describes Meta's internal
15                          Plaintiffs’ Notice of Motion and analyses and business strategy
                            Motion for Class Certification   regarding data privacy policies and
16                          and Appointment of Class         practices. This information
                            Counsel, 21:20-26                confidential non-public details of
17                                                           Meta’s product functionality and
                                                             strategic considerations related to
18
                                                             feature development . This
19                                                           information has never been disclosed
                                                             publicly and Meta’s product team
20                                                           treats it as strictly confidential. If
                                                             publicly revealed, this information
21                                                           could influence the competitive
                                                             decision-making and business
22
                                                             strategies employed by Meta’s
23                                                           competitors.
       133.   Exhibit O1    Dkt. No. 645-1, Consumer         This text describes Meta's internal
24                          Plaintiffs’ Notice of Motion and analyses and business strategy
                            Motion for Class Certification   regarding data privacy policies and
25                          and Appointment of Class         practices. This information contains
                            Counsel, 22:19-20                confidential non-public details of
26
                                                             Meta’s product functionality and
27                                                           strategic considerations related to
                                                             feature development . This
28   No. 3:20-cv-08570-JD                         -52-    DECLARATION OF AMRISH ACHARYA ISO
                                                            OMNIBUS MOTION TO SEAL MATERIALS
                                                          SUBMITTED IN CONNECTION WITH CLASS
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 2               No.                 Sealed
                                                              information has never been disclosed
 3
                                                              publicly and Meta’s product team
 4                                                            treats it as strictly confidential. If
                                                              publicly revealed, this information
 5                                                            could influence the competitive
                                                              decision-making and business
 6                                                            strategies employed by Meta’s
                                                              competitors.
 7
       134.   Exhibit O2    Dkt. No. 645-13, Exhibit 17,      This text contains confidential non-
 8                          Summary Chart of Illustrative     public details of Meta’s product
                            Examples of Facebook’s            functionality and strategic
 9                          Deceptive Statements and          considerations related to feature
                            Omissions, p. 8, between          development. This information has
10
                            “Facebook “cookie[s]” and “off    never been disclosed publicly.
11                          it.”; p. 9, “between “Facebook    Disclosure of this information would
                            “cookie[s]” and “off it”          adversely impact Meta’s current
12                                                            competitive position by enabling
                                                              Meta’s competitors to mimic its
13                                                            confidential strategies.
14
       135.   Exhibit O2    Dkt. No. 645-13, Exhibit 17,      This text contains confidential non-
15
                            Summary Chart of Illustrative     public details of Meta’s product
16                          Examples of Facebook’s            functionality and strategic
                            Deceptive Statements and          considerations related to feature
17                          Omissions, p. 12, between         development. This information has
                            “Moreover, Facebook’s             never been disclosed publicly.
18                          assurance” and “backlash”         Disclosure of this information would
                                                              adversely impact Meta’s current
19
                                                              competitive position by enabling
20                                                            Meta’s competitors to mimic its
                                                              confidential strategies.
21

22     136.   Exhibit O2    Dkt. No. 645-13, Exhibit 17,      This text contains confidential non-
                            Summary Chart of Illustrative     public details of Meta’s product
23                          Examples of Facebook’s            functionality and strategic
                            Deceptive Statements and          considerations related to feature
24
                            Omissions, pp. 13-14, between     development. This information has
25                          “For example, a presentation”     never been disclosed publicly.
                            and “multiple exceptions”         Disclosure of this information would
26                                                            adversely impact Meta’s current
                                                              competitive position by enabling
27

28   No. 3:20-cv-08570-JD                        -53-       DECLARATION OF AMRISH ACHARYA ISO
                                                              OMNIBUS MOTION TO SEAL MATERIALS
                                                            SUBMITTED IN CONNECTION WITH CLASS
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                                                              Meta’s competitors to mimic its
 3
                                                              confidential strategies.
 4

 5     137.   Exhibit O2    Dkt. No. 645-13, Exhibit 17,      This text contains confidential non-
                            Summary Chart of Illustrative     public details of Meta’s product
 6                          Examples of Facebook’s            functionality and strategic
                            Deceptive Statements and          considerations related to feature
 7                          Omissions, pp. 15-16, between     development. This information has
                            “For example, a presentation”     never been disclosed publicly.
 8
                            and “multiple exceptions”         Disclosure of this information would
 9                                                            adversely impact Meta’s current
                                                              competitive position by enabling
10                                                            Meta’s competitors to mimic its
                                                              confidential strategies.
11

12     138.   Exhibit O2    Dkt. No. 645-13, Exhibit 17,      This text contains confidential non-
                            Summary Chart of Illustrative     public details of Meta’s product
13
                            Examples of Facebook’s            functionality and strategic
14                          Deceptive Statements and          considerations related to feature
                            Omissions, pp. 19, between        development. This information has
15                          “For example, a presentation”     never been disclosed publicly.
                            and “multiple exceptions”         Disclosure of this information would
16                                                            adversely impact Meta’s current
                                                              competitive position by enabling
17
                                                              Meta’s competitors to mimic its
18                                                            confidential strategies.

19
       139.   Exhibit O2    Dkt. No. 645-13, Exhibit 17,      This text contains confidential non-
20                          Summary Chart of Illustrative     public details of Meta’s product
                            Examples of Facebook’s            functionality and strategic
21                          Deceptive Statements and          considerations related to feature
                            Omissions, pp. 20-21, between     development. This information has
22
                            “For example, a presentation”     never been disclosed publicly.
23                          and “multiple exceptions”         Disclosure of this information would
                                                              adversely impact Meta’s current
24                                                            competitive position by enabling
                                                              Meta’s competitors to mimic its
25                                                            confidential strategies.
26
       140.   Exhibit O2    Dkt. No. 645-13, Exhibit 17,      This text contains confidential non-
27
                            Summary Chart of Illustrative     public details of Meta’s product
28   No. 3:20-cv-08570-JD                        -54-       DECLARATION OF AMRISH ACHARYA ISO
                                                              OMNIBUS MOTION TO SEAL MATERIALS
                                                            SUBMITTED IN CONNECTION WITH CLASS
                                                             CERTIFICATION AND DAUBERT BRIEFING
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                            Examples of Facebook’s           functionality and strategic
 3
                            Deceptive Statements and         considerations related to feature
 4                          Omissions, p. 23 between “But,   development. This information has
                            Facebook’s” and “use it[.]”      never been disclosed publicly.
 5                                                           Disclosure of this information would
                                                             adversely impact Meta’s current
 6                                                           competitive position by enabling
                                                             Meta’s competitors to mimic its
 7
                                                             confidential strategies.
 8

 9     141.   Exhibit O3    Dkt. No. 645-13, Exhibit 25,     This text describes the technical
                            messages sent at 20:49-20:50     function of Meta's Download Your
10                                                           Information product and features.
                                                             This information contains non-public
11                                                           information regarding Meta’s
                                                             confidential non-public internal
12
                                                             strategic considerations related to
13                                                           creating value for and attracting
                                                             users to Meta’s products or services.
14                                                           This information has never been
                                                             disclosed publicly. Disclosure of this
15                                                           information would adversely impact
                                                             Meta’s current competitive position
16
                                                             by enabling Meta’s competitors to
17                                                           mimic its confidential strategies in
                                                             an effort to attract users away from
18                                                           Meta.
19     142.   Exhibit O3    Dkt. No. 645-13, Exhibit 25,     This text describes the technical
                            message sent at 20:54:06         function of Meta's Download Your
20                                                           Information product and features.
                                                             This information contains non-public
21                                                           information regarding Meta’s
                                                             confidential non-public internal
22
                                                             strategic considerations related to
23                                                           creating value for and attracting
                                                             users to Meta’s products or services.
24                                                           This information has never been
                                                             disclosed publicly. Disclosure of this
25                                                           information would adversely impact
26                                                           Meta’s current competitive position
                                                             by enabling Meta’s competitors to
27                                                           mimic its confidential strategies in

28   No. 3:20-cv-08570-JD                         -55-     DECLARATION OF AMRISH ACHARYA ISO
                                                             OMNIBUS MOTION TO SEAL MATERIALS
                                                           SUBMITTED IN CONNECTION WITH CLASS
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                                                             an effort to attract users away from
 3
                                                             Meta.
 4     143.   Exhibit O3    Dkt. No. 645-13, Exhibit 25,     This text describes the technical
                            messages sent at 20:56:06-       function of Meta's Download Your
 5
                            20:56:16                         Information product and features.
 6                                                           This information contains non-public
                                                             information regarding Meta’s
 7                                                           confidential non-public internal
                                                             strategic considerations related to
 8                                                           creating value for and attracting
                                                             users to Meta’s products or services.
 9
                                                             This information has never been
10                                                           disclosed publicly. Disclosure of this
                                                             information would adversely impact
11                                                           Meta’s current competitive position
                                                             by enabling Meta’s competitors to
12                                                           mimic its confidential strategies in
                                                             an effort to attract users away from
13
                                                             Meta.
14     144.   Exhibit O3    Dkt. No. 645-13, Exhibit 25,     This text describes the technical
                            message sent at 20:55:25         function of Meta's Download Your
15
                                                             Information product and features.
16                                                           This information contains non-public
                                                             information regarding Meta’s
17                                                           confidential non-public internal
                                                             strategic considerations related to
18                                                           creating value for and attracting
                                                             users to Meta’s products or services.
19
                                                             This information has never been
20                                                           disclosed publicly. Disclosure of this
                                                             information would adversely impact
21                                                           Meta’s current competitive position
                                                             by enabling Meta’s competitors to
22                                                           mimic its confidential strategies in
23                                                           an effort to attract users away from
                                                             Meta.
24     145.   Exhibit O3    Dkt. No. 645-13, Exhibit 25,     This text describes the technical
25                          messages sent at 20:57:41-       function of Meta's Download Your
                            20:58:36                         Information product and features.
26                                                           This information contains non-public
                                                             information regarding Meta’s
27                                                           confidential non-public internal
28   No. 3:20-cv-08570-JD                         -56-     DECLARATION OF AMRISH ACHARYA ISO
                                                             OMNIBUS MOTION TO SEAL MATERIALS
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                                                             strategic considerations related to
 3
                                                             creating value for and attracting
 4                                                           users to Meta’s products or services.
                                                             This information has never been
 5                                                           disclosed publicly. Disclosure of this
                                                             information would adversely impact
 6                                                           Meta’s current competitive position
                                                             by enabling Meta’s competitors to
 7
                                                             mimic its confidential strategies in
 8                                                           an effort to attract users away from
                                                             Meta.
 9
       146.   Exhibit O3    Dkt. No. 645-13, Exhibit 25,     This text reveals information about
10                          Exhibit 25, message sent at      Meta's internal risk assessments and
                            21:01:26                         strategies for addressing that risk.
11                                                           This information contains
                                                             confidential, non-public information
12                                                           regarding Meta’s internal business
                                                             strategies and analyses, including
13
                                                             summaries and discussions of Meta’s
14                                                           internal modeling and assessments of
                                                             its products, services, or advertising
15                                                           platform that reveal competitively
                                                             sensitive information, including how
16                                                           users or advertisers use and value
17                                                           Meta’s products, services, or
                                                             advertising platform, how they
18                                                           operate, and potential improvements
                                                             or other product changes. Disclosure
19                                                           of this non-public information is
                                                             likely to result in competitive harm
20                                                           to Meta, as it reveals strategic
21                                                           decision-making which, for example,
                                                             could give a developer, advertiser, or
22                                                           business partner unfair leverage in
                                                             competing against or negotiating
23                                                           with Meta.
24     147.   Exhibit O3    Dkt. No. 645-13, Exhibit 25,     This text reveals information about
                            Exhibit 25, message sent at      Meta's internal risk assessments and
25                          21:01:32                         strategies for addressing that risk.
                                                             This information contains
26                                                           confidential, non-public information
27                                                           regarding Meta’s internal business
                                                             strategies and analyses, including
28   No. 3:20-cv-08570-JD                         -57-     DECLARATION OF AMRISH ACHARYA ISO
                                                             OMNIBUS MOTION TO SEAL MATERIALS
                                                           SUBMITTED IN CONNECTION WITH CLASS
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                                                             summaries and discussions of Meta’s
 3
                                                             internal modeling and assessments of
 4                                                           its products, services, or advertising
                                                             platform that reveal competitively
 5                                                           sensitive information, including how
                                                             users or advertisers use and value
 6                                                           Meta’s products, services, or
                                                             advertising platform, how they
 7
                                                             operate, and potential improvements
 8                                                           or other product changes. Disclosure
                                                             of this non-public information is
 9                                                           likely to result in competitive harm
                                                             to Meta, as it reveals strategic
10                                                           decision-making which, for example,
                                                             could give a developer, advertiser, or
11
                                                             business partner unfair leverage in
12                                                           competing against or negotiating
                                                             with Meta.
13
       148.   Exhibit O3    Dkt. No. 645-13, Exhibit 25,     This text reveals information about
14                          Exhibit 25, message sent at      Meta's internal risk assessments and
                            21:02:30                         strategies for addressing that risk.
15                                                           This information contains
                                                             confidential, non-public information
16                                                           regarding Meta’s internal business
17                                                           strategies and analyses, including
                                                             summaries and discussions of Meta’s
18                                                           internal modeling and assessments of
                                                             its products, services, or advertising
19                                                           platform that reveal competitively
                                                             sensitive information, including how
20                                                           users or advertisers use and value
21                                                           Meta’s products, services, or
                                                             advertising platform, how they
22                                                           operate, and potential improvements
                                                             or other product changes. Disclosure
23                                                           of this non-public information is
                                                             likely to result in competitive harm
24                                                           to Meta, as it reveals strategic
25                                                           decision-making which, for example,
                                                             could give a developer, advertiser, or
26                                                           business partner unfair leverage in
                                                             competing against or negotiating
27                                                           with Meta.
28   No. 3:20-cv-08570-JD                         -58-     DECLARATION OF AMRISH ACHARYA ISO
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 3     149.   Exhibit O4    Dkt. No. 645-13, Exhibit 31,      This document describes future
                            Excerpts from PALM-               potential business plans with regard
 4                          010069776, -777-788 (attached     to unreleased products or features.
                            slide deck)                       This information contains
 5                                                            confidential non-public details of
                                                              Meta’s product functionality and
 6
                                                              strategic considerations. This
 7                                                            information has never been disclosed
                                                              publicly and Meta’s product team
 8                                                            treats it as strictly confidential. If
                                                              publicly revealed, this information
 9                                                            could influence the competitive
                                                              decision-making and business
10
                                                              strategies employed by Meta’s
11                                                            competitors.
       150.   Exhibit O4    Dkt. No. 645-13, Exhibit 31,      This text reveals email addresses or
12
                            Excerpts from PALM-               phone numbers of current or former
13                          010069776, email addresses of     employees of Meta. These current or
                            Meta employees                    former employees have a legitimate,
14                                                            legally recognized privacy interest in
                                                              protecting their contact information
15                                                            from public disclosure. If their
                                                              contact information were to be
16
                                                              publicly disclosed, they may be
17                                                            subject to repeated inquiries from the
                                                              press or members of the general
18                                                            public, which could rise to the level
                                                              of threats or harassment, given the
19                                                            current media attention on Meta.
20     151.   Exhibit O5    Dkt. No. 645-13, Exhibit 35,      This text describes the technical
                            Excerpts from PALM-               function of Meta's advertising
21                          011140935, text under             platforms and systems. This
                            “Analysis Takeaways”              information contains confidential,
22
                                                              proprietary, and commercially
23                                                            sensitive information regarding the
                                                              technical functionalities and
24                                                            processes of Meta’s ad auction, ad
                                                              targeting and delivery systems, or
25                                                            data tables. This information has
26                                                            never been disclosed publicly and
                                                              Meta’s product team treats it as
27                                                            strictly confidential. If publicly
                                                              revealed, this information could
28   No. 3:20-cv-08570-JD                         -59-      DECLARATION OF AMRISH ACHARYA ISO
                                                              OMNIBUS MOTION TO SEAL MATERIALS
                                                            SUBMITTED IN CONNECTION WITH CLASS
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                                                             influence the competitive decision-
 3
                                                             making and business strategies
 4                                                           employed by Meta’s competitors in
                                                             advertising.
 5
       152.   Exhibit O6    Dkt. No. 645-13, Exhibit 36,     This document describes Meta's
 6                          Excerpts from PALM-              future potential business plans with
                            012003899                        respect to compliance with
 7                                                           regulatory oversight. This
                                                             information contains non-public
 8                                                           information regarding Meta’s
                                                             confidential non-public internal
 9
                                                             strategic considerations related to
10                                                           product and feature development.
                                                             This information has never been
11                                                           disclosed publicly. Disclosure of this
                                                             information would adversely impact
12                                                           Meta’s current competitive position
                                                             by enabling Meta’s competitors to
13
                                                             mimic its confidential strategies.
14     153.   Exhibit O7    Dkt. No. 645-13, Exhibit 37      This text describes Meta's
                                                             confidential business strategy
15
                                                             regarding data collection, privacy,
16                                                           and security. This information
                                                             contains non-public information
17                                                           regarding Meta’s confidential non-
                                                             public details of Meta’s confidential
18                                                           product functionality and strategic
                                                             considerations related to feature
19
                                                             development. This information has
20                                                           never been disclosed publicly.
                                                             Disclosure of this information would
21                                                           adversely impact Meta’s current
                                                             competitive position by enabling
22                                                           Meta’s competitors to mimic its
23                                                           confidential strategies.
       154.   Exhibit O8    Dkt. No. 645-14, Exhibit 38,     This text includes descriptions of
24                          Pages -183-185                   Meta's business plans for data use
25                                                           design on Meta's Facebook,
                                                             Instagram, and Messenger apps. This
26                                                           information contains confidential,
                                                             non-public information regarding
27                                                           Meta’s internal business strategies
28   No. 3:20-cv-08570-JD                         -60-     DECLARATION OF AMRISH ACHARYA ISO
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                                                             and analyses, including summaries
 3
                                                             and discussions of Meta’s internal
 4                                                           modeling and assessments of its
                                                             products, services, or advertising
 5                                                           platform that reveal competitively
                                                             sensitive information, including how
 6                                                           users or advertisers use and value
                                                             Meta’s products, and services how
 7
                                                             they operate, and potential
 8                                                           improvements or other product
                                                             changes. Disclosure of this non-
 9                                                           public information is likely to result
                                                             in competitive harm to Meta, as it
10                                                           reveals strategic decision-making
                                                             which, for example, could give a
11
                                                             competitor unfair leverage in
12                                                           competing against Meta.
       155.   Exhibit O8    Dkt. No. 645-14, Exhibit 38,     This text reveals email addresses or
13
                            email addresses of Meta          phone numbers of current or former
14                          employees                        employees of Meta. These current or
                                                             former employees have a legitimate,
15                                                           legally recognized privacy interest in
                                                             protecting their contact information
16                                                           from public disclosure. If their
17                                                           contact information were to be
                                                             publicly disclosed, they may be
18                                                           subject to repeated inquiries from the
                                                             press or members of the general
19                                                           public, which could rise to the level
                                                             of threats or harassment, given the
20                                                           current media attention on Meta.
21     156.   Exhibit O9    Dkt. No. 645-14, Exhibit 39,     This document describes Meta's
                            Excerpts from PALM-              future potential business plans with
22                          012846445                        respect to compliance with
23                                                           regulatory oversight. This
                                                             information contains non-public
24                                                           information regarding Meta’s
                                                             confidential non-public internal
25                                                           strategic considerations related to
                                                             product and feature development.
26                                                           This information has never been
27                                                           disclosed publicly. Disclosure of this
                                                             information would adversely impact
28   No. 3:20-cv-08570-JD                         -61-     DECLARATION OF AMRISH ACHARYA ISO
                                                             OMNIBUS MOTION TO SEAL MATERIALS
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                                                              Meta’s current competitive position
 3
                                                              by enabling Meta’s competitors to
 4                                                            mimic its confidential strategies.
       157.   Exhibit O10   Dkt. No. 645-14, Exhibit 41,      This text describes Meta's future
 5
                            Excerpts from PALM-               potential business plans and internal
 6                          012991911, Pages -912-917         analyses regarding privacy policies
                            (after “FB App proposal on        and practices. This information
 7                          privacy & trust”)                 contains non-public information
                                                              regarding Meta’s confidential non-
 8                                                            public internal strategic
                                                              considerations related to feature
 9
                                                              development. This information has
10                                                            never been disclosed publicly.
                                                              Disclosure of this information would
11                                                            adversely impact Meta’s current
                                                              competitive position by enabling
12                                                            Meta’s competitors to mimic its
                                                              confidential strategies.
13
       158.   Exhibit O10   Dkt. No. 645-14, Exhibit 41,      This text reveals email addresses or
14                          Excerpts from PALM-               phone numbers of current or former
                            012991911, email addresses of     employees of Meta. These current or
15
                            Meta employees                    former employees have a legitimate,
16                                                            legally recognized privacy interest in
                                                              protecting their contact information
17                                                            from public disclosure. If their
                                                              contact information were to be
18                                                            publicly disclosed, they may be
19                                                            subject to repeated inquiries from the
                                                              press or members of the general
20                                                            public, which could rise to the level
                                                              of threats or harassment, given the
21                                                            current media attention on Meta.
22     159.   Exhibit O11   Dkt. No. 645-14, Exhibit 42,      This document describes Meta's
                            Excerpts from PALM-               future potential business plans with
23                          013003886                         respect to compliance with EU and
                                                              India regulatory oversight on data
24                                                            use restrictions. This information
25                                                            contains non-public information
                                                              regarding Meta’s confidential non-
26                                                            public internal strategic
                                                              considerations related to Meta’s
27                                                            feature development. This
28   No. 3:20-cv-08570-JD                         -62-      DECLARATION OF AMRISH ACHARYA ISO
                                                              OMNIBUS MOTION TO SEAL MATERIALS
                                                            SUBMITTED IN CONNECTION WITH CLASS
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 2               No.                 Sealed
                                                             information has never been disclosed
 3
                                                             publicly. Disclosure of this
 4                                                           information would adversely impact
                                                             Meta’s current competitive position
 5                                                           by enabling Meta’s competitors to
                                                             mimic its confidential strategies.
 6
       160.   Exhibit O12   Dkt. No. 645-14, Exhibit 48      This document describes Meta's
 7                                                           confidential business plans regarding
                                                             Meta's data use strategy. This
 8                                                           information contains non-public
                                                             details of Meta’s product
 9
                                                             functionality and strategic
10                                                           considerations. This information has
                                                             never been disclosed publicly.
11                                                           Disclosure of this information would
                                                             adversely impact Meta’s current
12                                                           competitive position by enabling
                                                             Meta’s competitors to mimic its
13
                                                             confidential strategies.
14     161.   Exhibit O13   Dkt. No. 645-14, Exhibit 54,     This document describes Meta's
                            Excerpts from PALM-              future potential business plans for
15
                            017069195                        responding to Apple's App Tracking
16                                                           Transparency program. This
                                                             information contains non-public
17                                                           details and confidential data relating
                                                             to Meta’s product functionality and
18                                                           strategic considerations. This
                                                             information has never been disclosed
19
                                                             publicly and the Meta product team
20                                                           treats it as strictly confidential. If
                                                             publicly revealed, this information
21                                                           could influence the competitive
                                                             decision-making and business
22                                                           strategies employed by Meta’s
23                                                           competitors.
       162.   Exhibit O14   Dkt. No. 645-15, Exhibit 62,     This text reveals information about
24                          excerpts of Chen Deposition      Meta's internal risk assessments and
25                          Transcript, p. 62:7-16           strategies for addressing that risk.
                                                             This information contains
26                                                           confidential, non-public information
                                                             regarding Meta’s internal business
27                                                           strategies and analyses, including
28   No. 3:20-cv-08570-JD                         -63-     DECLARATION OF AMRISH ACHARYA ISO
                                                             OMNIBUS MOTION TO SEAL MATERIALS
                                                           SUBMITTED IN CONNECTION WITH CLASS
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 2               No.                 Sealed
                                                             summaries and discussions of Meta’s
 3
                                                             internal modeling and assessments of
 4                                                           its products, that reveal
                                                             competitively sensitive information,
 5                                                           including how developers use Meta’s
                                                             products, how they operate, and
 6                                                           potential improvements or other
                                                             product changes. Disclosure of this
 7
                                                             non-public information is likely to
 8                                                           result in competitive harm to Meta,
                                                             as it reveals strategic decision-
 9                                                           making which, for example, could
                                                             give a developer, unfair leverage in
10                                                           competing against or negotiating
                                                             with Meta.
11
       163.   Exhibit O14   Dkt. No. 645-15, Exhibit 62,     This text reveals information about
12                          excerpts of Chen Deposition      Meta's internal risk assessments and
                            Transcript, Pages 92-105         strategies for addressing that risk.
13
                                                             This information contains
14                                                           confidential, non-public information
                                                             regarding Meta’s internal business
15                                                           strategies and analyses, including
                                                             summaries and discussions of Meta’s
16                                                           internal modeling and assessments of
17                                                           its products, that reveal
                                                             competitively sensitive information,
18                                                           including how developers use Meta’s
                                                             products, how they operate, and
19                                                           potential improvements or other
                                                             product changes. Disclosure of this
20                                                           non-public information is likely to
21                                                           result in competitive harm to Meta,
                                                             as it reveals strategic decision-
22                                                           making which, for example, could
                                                             give a developer, unfair leverage in
23                                                           competing against or negotiating
                                                             with Meta.
24
         Administrative Motion to File Under Seal Portions of Meta’s Motion to Exclude the
25                 Testimony of Scott Fasser and Joshua S. Gans (Dkt. No. 646)
26     164.   Exhibit P1    Dkt. No. 646-5, Exhibit 3,       This information reflects and is
                            excerpt of Fasser Deposition     calculated from internal, nonpublic
27                          Transcript, 23:20-24:1           Meta financial data. Meta spends
28   No. 3:20-cv-08570-JD                         -64-     DECLARATION OF AMRISH ACHARYA ISO
                                                             OMNIBUS MOTION TO SEAL MATERIALS
                                                           SUBMITTED IN CONNECTION WITH CLASS
                                                            CERTIFICATION AND DAUBERT BRIEFING
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 1            Vanderslice      Document or Portion of
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                                                             significant resources compiling and
 3
                                                             maintaining this valuable data,
 4                                                           which is non-public, and if revealed
                                                             to competitors and potential business
 5                                                           counterparties, could be used to
                                                             disadvantage and cause Meta
 6                                                           competitive harm by giving
                                                             competitors insight into confidential
 7
                                                             Meta financial information. Further,
 8                                                           this information reflects sensitive,
                                                             highly confidential characterizations
 9                                                           by Meta’s internal business teams
                                                             that, if revealed, could be referenced
10                                                           by potential counterparties in
                                                             negotiations with Meta to gain an
11
                                                             unfair advantage against Meta.
12     165.   Exhibit P1    Dkt. No. 646-5, Exhibit 3,       This information reflects and is
                            excerpt of Fasser Deposition     calculated from internal, nonpublic
13
                            Transcript, 145:20-146:14        Meta financial data. Meta spends
14                                                           significant resources compiling and
                                                             maintaining this valuable data,
15                                                           which is non-public, and if revealed
                                                             to competitors and potential business
16                                                           counterparties, could be used to
17                                                           disadvantage and cause Meta
                                                             competitive harm by giving
18                                                           competitors insight into confidential
                                                             Meta financial information. Further,
19                                                           this information reflects sensitive,
                                                             highly confidential characterizations
20                                                           by Meta’s internal business teams
21                                                           that, if revealed, could be referenced
                                                             by potential counterparties in
22                                                           negotiations with Meta to gain an
                                                             unfair advantage against Meta.
23
       166.   Exhibit P1    Dkt. No. 646-5, Exhibit 3,       This information reflects and is
24                          excerpt of Fasser Deposition     calculated from internal, nonpublic
                            Transcript, 148:2-5              Meta financial data. Meta spends
25                                                           significant resources compiling and
                                                             maintaining this valuable data,
26                                                           which is non-public, and if revealed
27                                                           to competitors and potential business
                                                             counterparties, could be used to
28   No. 3:20-cv-08570-JD                         -65-     DECLARATION OF AMRISH ACHARYA ISO
                                                             OMNIBUS MOTION TO SEAL MATERIALS
                                                           SUBMITTED IN CONNECTION WITH CLASS
                                                            CERTIFICATION AND DAUBERT BRIEFING
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                                                               disadvantage and cause Meta
 3
                                                               competitive harm by giving
 4                                                             competitors insight into confidential
                                                               Meta financial information. Further,
 5                                                             this information reflects sensitive,
                                                               highly confidential characterizations
 6                                                             by Meta’s internal business teams
                                                               that, if revealed, could be referenced
 7
                                                               by potential counterparties in
 8                                                             negotiations with Meta to gain an
                                                               unfair advantage against Meta.
 9
       167.   Exhibit P1    Dkt. No. 646-5, Exhibit 3,         This information reflects and is
10                          excerpt of Fasser Deposition       calculated from internal, nonpublic
                            Transcript, 150:2-7                Meta financial data. Meta spends
11                                                             significant resources compiling and
                                                               maintaining this valuable data,
12                                                             which is non-public, and if revealed
                                                               to competitors and potential business
13
                                                               counterparties, could be used to
14                                                             disadvantage and cause Meta
                                                               competitive harm by giving
15                                                             competitors insight into confidential
                                                               Meta financial information. Further,
16                                                             this information reflects sensitive,
17                                                             highly confidential characterizations
                                                               by Meta’s internal business teams
18                                                             that, if revealed, could be referenced
                                                               by potential counterparties in
19                                                             negotiations with Meta to gain an
                                                               unfair advantage against Meta.
20
       168.   Exhibit P2    Dkt. No. 646-11, Exhibit 9,        This text reveals confidential
21                          excerpts of Bosworth               information about the technical
                            Deposition Transcript, 174:1-8     functionalities of Meta's ad auction.
22                                                             This information contains
23                                                             confidential, proprietary, and
                                                               commercially sensitive information
24                                                             regarding the technical
                                                               functionalities and processes of
25                                                             Meta’s ad auction. This information
                                                               has never been disclosed publicly
26                                                             and Meta’s product team treats it as
27                                                             strictly confidential. If publicly
                                                               revealed, this information could
28   No. 3:20-cv-08570-JD                         -66-       DECLARATION OF AMRISH ACHARYA ISO
                                                               OMNIBUS MOTION TO SEAL MATERIALS
                                                             SUBMITTED IN CONNECTION WITH CLASS
                                                              CERTIFICATION AND DAUBERT BRIEFING
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 1            Vanderslice      Document or Portion of
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                                                             influence the competitive decision-
 3
                                                             making and business strategies
 4                                                           employed by Meta’s competitors in
                                                             advertising.
 5
       169.   Exhibit P3    Dkt. No. 646-12, Exhibit 10,    This text reveals confidential
 6                          excerpts of Goldman             information about the technical
                            Deposition Transcript, 26:19-22 functionalities of Meta's ad auction.
 7                                                          This information contains
                                                            confidential, proprietary, and
 8                                                          commercially sensitive information
                                                            regarding the technical
 9
                                                            functionalities and processes of
10                                                          Meta’s ad auction. This information
                                                            has never been disclosed publicly
11                                                          and Meta’s product team treats it as
                                                            strictly confidential. If publicly
12                                                          revealed, this information could
                                                            influence the competitive decision-
13
                                                            making and business strategies
14                                                          employed by Meta’s competitors in
                                                            advertising.
15
       170.   Exhibit P4    Dkt. No. 646-13, Exhibit 11,     This information contains
16                          excerpts of Baser Deposition     confidential, non-public information
                            Transcript, 275:8-13             regarding Meta’s internal business
17                                                           strategies and analyses, including
                                                             summaries and discussions of Meta’s
18                                                           internal modeling and assessments of
                                                             its products, that reveal
19
                                                             competitively sensitive information,
20                                                           including how users use and value
                                                             Meta’s products, services, or
21                                                           advertising platform, how they
                                                             operate, and potential improvements
22                                                           or other product changes. Disclosure
23                                                           of this non-public information is
                                                             likely to result in competitive harm
24                                                           to Meta, as it reveals strategic
                                                             decision-making which, for example,
25                                                           could give a developer unfair
                                                             leverage in competing against or
26                                                           negotiating with Meta.
27

28   No. 3:20-cv-08570-JD                         -67-     DECLARATION OF AMRISH ACHARYA ISO
                                                             OMNIBUS MOTION TO SEAL MATERIALS
                                                           SUBMITTED IN CONNECTION WITH CLASS
                                                            CERTIFICATION AND DAUBERT BRIEFING
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 3     171.   Exhibit P4    Dkt. No. 646-13, Exhibit 11,     This information contains
                            excerpts of Baser Deposition     confidential, proprietary, and
 4                          Transcript, 278:22-23            commercially sensitive information
                                                             regarding the technical
 5                                                           functionalities and processes of
                                                             Meta’s ad auction. This information
 6
                                                             has never been disclosed publicly
 7                                                           and Meta’s product team treats it as
                                                             strictly confidential. If publicly
 8                                                           revealed, this information could
                                                             influence the competitive decision-
 9                                                           making and business strategies
                                                             employed by Meta’s competitors in
10
                                                             advertising.
11     172.   Exhibit P4    Dkt. No. 646-13, Exhibit 11,     This information contains
                            excerpts of Baser Deposition     confidential, proprietary, and
12
                            Transcript, 279:5-17             commercially sensitive information
13                                                           regarding the technical
                                                             functionalities and processes of
14                                                           Meta’s ad auction. This information
                                                             has never been disclosed publicly
15                                                           and Meta’s product team treats it as
                                                             strictly confidential. If publicly
16
                                                             revealed, this information could
17                                                           influence the competitive decision-
                                                             making and business strategies
18                                                           employed by Meta’s competitors in
                                                             advertising.
19
          Administrative Motion to File Under Seal Certain Exhibits to the Supplemental
20     Declaration of David Z. Gringer in Support of Meta’s Motion to Exclude the Testimony
                               of Nicholas Economides (Dkt. No. 655)
21
       173.   Exhibit Q1    Dkt. No. 655-3, Exhibit 8,       This document describes future
22                          excerpts of Zuckerberg           potential business plans with regard
                            Deposition Transcript, Pages     to unreleased products or features.
23                          52-53                            This information contains
                                                             confidential non-public details of
24
                                                             Meta’s product functionality and
25                                                           strategic considerations related to
                                                             feature development. This
26                                                           information has never been disclosed
                                                             publicly and Meta’s product team
27                                                           treats it as strictly confidential. If
28   No. 3:20-cv-08570-JD                        -68-      DECLARATION OF AMRISH ACHARYA ISO
                                                             OMNIBUS MOTION TO SEAL MATERIALS
                                                           SUBMITTED IN CONNECTION WITH CLASS
                                                            CERTIFICATION AND DAUBERT BRIEFING
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 1            Vanderslice      Document or Portion of
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                                                              publicly revealed, this information
 3
                                                              could influence the competitive
 4                                                            decision-making and business
                                                              strategies employed by Meta’s
 5                                                            competitors.

 6     174.   Exhibit Q2    Dkt. No. 655-4, Exhibit 9,        This document describes future
                            excerpts of Baser Deposition      potential business plans with regard
 7                          Transcript, 269:24-273:25         to unreleased products or features.
                                                              This information contains
 8                                                            confidential non-public details of
                                                              Meta’s product functionality and
 9
                                                              strategic considerations related to
10                                                            feature development. This
                                                              information has never been disclosed
11                                                            publicly and Meta’s product team
                                                              treats it as strictly confidential. If
12                                                            publicly revealed, this information
                                                              could influence the competitive
13
                                                              decision-making and business
14                                                            strategies employed by Meta’s
                                                              competitors.
15
          Interim Administrative Motion to File Under Seal Opposition to Meta’s Motion to
16               Exclude Testimony of Scott Fasser and Joshua Gans (Dkt. No. 667)
       175.   Exhibit R1    Dkt. No. 667-1, Advertisers’      This text describes confidential
17
                            Opp to Motion to Exclude          pricing information. This
18                          Testimony of Fasser, 1:20-24,     information reveals Meta’s internal
                            between “(Ex. 1, ¶¶ 6-7)” and     non-public pricing information for
19                          “Id., ¶¶ 7-11”                    advertising on Meta’s products or
                                                              services, including how those prices
20                                                            can be determined. This information
                                                              is not otherwise publicly reported by
21
                                                              the company and disclosure is likely
22                                                            to cause Meta competitive harm and
                                                              give its competitors an unfair
23                                                            advantage. Meta’s competitors could
                                                              improperly utilize this internal, non-
24                                                            public information to modify or
25                                                            augment their business operations in
                                                              an effort to compete unfairly against
26                                                            Meta

27

28   No. 3:20-cv-08570-JD                        -69-       DECLARATION OF AMRISH ACHARYA ISO
                                                              OMNIBUS MOTION TO SEAL MATERIALS
                                                            SUBMITTED IN CONNECTION WITH CLASS
                                                             CERTIFICATION AND DAUBERT BRIEFING
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 3     176.   Exhibit R1    Dkt. No. 667-1, Advertisers’     This text describes confidential
                            Opp to Motion to Exclude         pricing information. This
 4                          Testimony of Fasser, 5:18-21     information reveals Meta’s internal
                                                             non-public pricing information for
 5                                                           advertising on Meta’s products or
                                                             services, including how those prices
 6
                                                             can be determined. This information
 7                                                           is not otherwise publicly reported by
                                                             the company and disclosure is likely
 8                                                           to cause Meta competitive harm and
                                                             give its competitors an unfair
 9                                                           advantage. Meta’s competitors could
                                                             improperly utilize this internal, non-
10
                                                             public information to modify or
11                                                           augment their business operations in
                                                             an effort to compete unfairly against
12                                                           Meta.
13     177.   Exhibit R1    Dkt. No. 667-1, Advertisers’     This text describes confidential
                            Opp to Motion to Exclude         pricing information. This
14                          Testimony of Fasser, 6:1-4       information reveals Meta’s internal
                                                             non-public pricing information for
15                                                           advertising on Meta’s products or
                                                             services, including how those prices
16
                                                             can be determined. This information
17                                                           is not otherwise publicly reported by
                                                             the company and disclosure is likely
18                                                           to cause Meta competitive harm and
                                                             give its competitors an unfair
19                                                           advantage. Meta’s competitors could
20                                                           improperly utilize this internal, non-
                                                             public information to modify or
21                                                           augment their business operations in
                                                             an effort to compete unfairly against
22                                                           Meta.
23     178.   Exhibit R1    Dkt. No. 667-1, Advertisers’     This text describes confidential
                            Opp to Motion to Exclude         pricing information. This
24                          Testimony of Fasser, 6:6-7       information reveals Meta’s internal
                                                             non-public pricing information for
25                                                           advertising on Meta’s products or
26                                                           services, including how those prices
                                                             can be determined. This information
27                                                           is not otherwise publicly reported by
                                                             the company and disclosure is likely
28   No. 3:20-cv-08570-JD                        -70-      DECLARATION OF AMRISH ACHARYA ISO
                                                             OMNIBUS MOTION TO SEAL MATERIALS
                                                           SUBMITTED IN CONNECTION WITH CLASS
                                                            CERTIFICATION AND DAUBERT BRIEFING
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 1            Vanderslice      Document or Portion of
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                                                              to cause Meta competitive harm and
 3
                                                              give its competitors an unfair
 4                                                            advantage. Meta’s competitors could
                                                              improperly utilize this internal, non-
 5                                                            public information to modify or
                                                              augment their business operations in
 6                                                            an effort to compete unfairly against
                                                              Meta.
 7
       179.   Exhibit R1    Dkt. No. 667-1, Advertisers’      This text describes confidential
 8                          Opp to Motion to Exclude          pricing information. This
                            Testimony of Fasser, 7:24-8:2     information reveals Meta’s internal
 9
                                                              non-public pricing information for
10                                                            advertising on Meta’s products or
                                                              services, including how those prices
11                                                            can be determined. This information
                                                              is not otherwise publicly reported by
12                                                            the company and disclosure is likely
                                                              to cause Meta competitive harm and
13
                                                              give its competitors an unfair
14                                                            advantage. Meta’s competitors could
                                                              improperly utilize this internal, non-
15                                                            public information to modify or
                                                              augment their business operations in
16                                                            an effort to compete unfairly against
17                                                            Meta.
       180.   Exhibit R2    Dkt. No. 667-4, Exhibit 3         This document describes
18                                                            confidential pricing information.
                                                              This information reveals Meta’s
19
                                                              internal non-public pricing
20                                                            information for advertising on
                                                              Meta’s products or services,
21                                                            including how those prices can be
                                                              determined. This information is not
22                                                            otherwise publicly reported by the
23                                                            company and disclosure is likely to
                                                              cause Meta competitive harm and
24                                                            give its competitors an unfair
                                                              advantage. Meta’s competitors could
25                                                            improperly utilize this internal, non-
                                                              public information to modify or
26                                                            augment their business operations in
27                                                            an effort to compete unfairly against
                                                              Meta.
28   No. 3:20-cv-08570-JD                         -71-      DECLARATION OF AMRISH ACHARYA ISO
                                                              OMNIBUS MOTION TO SEAL MATERIALS
                                                            SUBMITTED IN CONNECTION WITH CLASS
                                                             CERTIFICATION AND DAUBERT BRIEFING
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 3     181.   Exhibit R3    Dkt. No. 667-6, Exhibit 5      This document describes
                                                           confidential pricing information.
 4                                                         This information reveals Meta’s
                                                           internal non-public pricing
 5                                                         information for advertising on
                                                           Meta’s products or services,
 6
                                                           including how those prices can be
 7                                                         determined. This information is not
                                                           otherwise publicly reported by the
 8                                                         company and disclosure is likely to
                                                           cause Meta competitive harm and
 9                                                         give its competitors an unfair
                                                           advantage. Meta’s competitors could
10
                                                           improperly utilize this internal, non-
11                                                         public information to modify or
                                                           augment their business operations in
12                                                         an effort to compete unfairly against
                                                           Meta.
13
       182.   Exhibit R4    Dkt. No. 667-7, Exhibit 6      This document describes
14                                                         confidential pricing information.
                                                           This information reveals Meta’s
15                                                         internal non-public pricing
                                                           information for advertising on
16
                                                           Meta’s products or services,
17                                                         including how those prices can be
                                                           determined. This information is not
18                                                         otherwise publicly reported by the
                                                           company and disclosure is likely to
19                                                         cause Meta competitive harm and
20                                                         give its competitors an unfair
                                                           advantage. Meta’s competitors could
21                                                         improperly utilize this internal, non-
                                                           public information to modify or
22                                                         augment their business operations in
                                                           an effort to compete unfairly against
23                                                         Meta.
24     183.   Exhibit R5    Dkt. No. 667-8, Exhibit 7      This document describes
                                                           confidential pricing information.
25                                                         This information reveals Meta’s
26                                                         internal non-public pricing
                                                           information for advertising on
27                                                         Meta’s products or services,
                                                           including how those prices can be
28   No. 3:20-cv-08570-JD                         -72-   DECLARATION OF AMRISH ACHARYA ISO
                                                           OMNIBUS MOTION TO SEAL MATERIALS
                                                         SUBMITTED IN CONNECTION WITH CLASS
                                                          CERTIFICATION AND DAUBERT BRIEFING
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                                                              determined. This information is not
 3
                                                              otherwise publicly reported by the
 4                                                            company and disclosure is likely to
                                                              cause Meta competitive harm and
 5                                                            give its competitors an unfair
                                                              advantage. Meta’s competitors could
 6                                                            improperly utilize this internal, non-
                                                              public information to modify or
 7
                                                              augment their business operations in
 8                                                            an effort to compete unfairly against
                                                              Meta.
 9
       184.   Exhibit R6    Dkt. No. 667-9, Exhibit 8         This document describes
10                                                            confidential financial information.
                                                              This information reveals Meta’s
11                                                            internal non-public profit, revenue,
                                                              and financial calculations. These
12                                                            data sets are not otherwise publicly
                                                              reported by the company and their
13
                                                              disclosure is likely to cause Meta
14                                                            competitive harm and give its
                                                              competitors an unfair advantage.
15                                                            Meta’s competitors could improperly
                                                              utilize this internal, non-public data
16                                                            to modify or augment their business
17                                                            operations in an effort to compete
                                                              unfairly against Meta. Moreover,
18                                                            visibility into the trends in the data
                                                              (i.e., figures across multiple years)
19                                                            gives Meta’s competitors improper
                                                              insight into the financial health and
20                                                            future outlook of Meta’s product
21                                                            development, which also arguably
                                                              gives Meta’s competitors an unfair
22                                                            advantage.

23    Interim Administrative Motion to File Under Seal Opposition to Users’ Motion for Class
                    Certification and Accompanying Exhibits (Dkt. No. 669)
24     185.   Exhibit S1    Dkt. No. 669-1, Meta’s Opp to     This text describes Meta's future
25                          Users’ Motion for Class Cert,     potential business plans regarding
                            8:27-9:3                          data collection from users. This
26                                                            information contains non-public
                                                              information regarding Meta’s
27                                                            confidential non-public internal
28   No. 3:20-cv-08570-JD                         -73-      DECLARATION OF AMRISH ACHARYA ISO
                                                              OMNIBUS MOTION TO SEAL MATERIALS
                                                            SUBMITTED IN CONNECTION WITH CLASS
                                                             CERTIFICATION AND DAUBERT BRIEFING
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 1            Vanderslice      Document or Portion of
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 2               No.                 Sealed
                                                              strategic considerations related to
 3
                                                              creating value for and attracting
 4                                                            users to Meta’s products. This
                                                              information has never been disclosed
 5                                                            publicly. Disclosure of this
                                                              information would adversely impact
 6                                                            Meta’s current competitive position
                                                              by enabling Meta’s competitors to
 7
                                                              mimic its confidential strategies in
 8                                                            an effort to attract users away from
                                                              Meta.
 9
       186.   Exhibit S2    Dkt. No. 669-13, Exhibit 12       This document describes future
10                                                            potential business plans with regard
                                                              to unreleased products and features.
11                                                            This information contains
                                                              confidential non-public details of
12                                                            Meta’s product functionality and
                                                              strategic considerations related to
13
                                                              feature development. This
14                                                            information has never been disclosed
                                                              publicly and Meta’s product team
15                                                            treats it as strictly confidential. If
                                                              publicly revealed, this information
16                                                            could influence the competitive
17                                                            decision-making and business
                                                              strategies employed by Meta’s
18                                                            competitors.
        Interim Administrative Motion to File Under Seal Opposition to Advertiser Plaintiffs'
19
              Motion for Class Certification and Accompanying Exhibits (Dkt. No. 671)
20     187.   Exhibit T1    Dkt. No. 671-1, Meta Opp to       This information contains
                            Advertisers’ Class Cert Motion,   confidential, proprietary, and
21
                            7:4-6                             commercially sensitive information
22                                                            regarding the technical
                                                              functionalities and processes of
23                                                            Meta’s ad auction. This information
                                                              has never been disclosed publicly
24                                                            and Meta’s product team treats it as
25                                                            strictly confidential. If publicly
                                                              revealed, this information could
26                                                            influence the competitive decision-
                                                              making and business strategies
27

28   No. 3:20-cv-08570-JD                        -74-     DECLARATION OF AMRISH ACHARYA ISO
                                                            OMNIBUS MOTION TO SEAL MATERIALS
                                                          SUBMITTED IN CONNECTION WITH CLASS
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 1            Vanderslice      Document or Portion of
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 2               No.                 Sealed
                                                              employed by Meta’s competitors in
 3
                                                              advertising.
 4     188.   Exhibit T1    Dkt. No. 671-1, Meta Opp to       This information reflects and is
                            Advertisers’ Class Cert Motion,   calculated from internal, nonpublic
 5
                            15:12 from “Custom” to “class     Meta financial data. Meta spends
 6                          period”                           significant resources compiling and
                                                              maintaining this valuable data,
 7                                                            which is non-public, and if revealed
                                                              to competitors and potential business
 8                                                            counterparties, could be used to
                                                              disadvantage and cause Meta
 9
                                                              competitive harm by giving
10                                                            competitors insight into confidential
                                                              Meta financial information. Further,
11                                                            this information reflects sensitive,
                                                              highly confidential characterizations
12                                                            by Meta’s internal business teams
                                                              that, if revealed, could be referenced
13
                                                              by potential counterparties in
14                                                            negotiations with Meta to gain an
                                                              unfair advantage against Meta.
15
       189.   Exhibit T1    Dkt. No. 671-1, Meta Opp to       This information reflects and is
16                          Advertisers’ Class Cert Motion,   calculated from internal, nonpublic
                            15:20 from “was associated” to    Meta financial data. Meta spends
17                          “spend”                           significant resources compiling and
                                                              maintaining this valuable data,
18                                                            which is non-public, and if revealed
                                                              to competitors and potential business
19
                                                              counterparties, could be used to
20                                                            disadvantage and cause Meta
                                                              competitive harm by giving
21                                                            competitors insight into confidential
                                                              Meta financial information. Further,
22                                                            this information reflects sensitive,
23                                                            highly confidential characterizations
                                                              by Meta’s internal business teams
24                                                            that, if revealed, could be referenced
                                                              by potential counterparties in
25                                                            negotiations with Meta to gain an
                                                              unfair advantage against Meta.
26
       190.   Exhibit T1    Dkt. No. 671-1, Meta Opp to       This information reflects and is
27                          Advertisers’ Class Cert Motion,   calculated from internal, nonpublic
28   No. 3:20-cv-08570-JD                        -75-     DECLARATION OF AMRISH ACHARYA ISO
                                                            OMNIBUS MOTION TO SEAL MATERIALS
                                                          SUBMITTED IN CONNECTION WITH CLASS
                                                           CERTIFICATION AND DAUBERT BRIEFING
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                            15:22 from “made up” to “class    Meta financial data. Meta spends
 3
                            period”                           significant resources compiling and
 4                                                            maintaining this valuable data,
                                                              which is non-public, and if revealed
 5                                                            to competitors and potential business
                                                              counterparties, could be used to
 6                                                            disadvantage and cause Meta
                                                              competitive harm by giving
 7
                                                              competitors insight into confidential
 8                                                            Meta financial information. Further,
                                                              this information reflects sensitive,
 9                                                            highly confidential characterizations
                                                              by Meta’s internal business teams
10                                                            that, if revealed, could be referenced
                                                              by potential counterparties in
11
                                                              negotiations with Meta to gain an
12                                                            unfair advantage against Meta.
       191.   Exhibit T2    Dkt. No. 671-2, Exhibit 1,        This information reflects and is
13
                            excerpts of Fasser Deposition     calculated from internal, nonpublic
14                          Transcript, 145:20-146:14         Meta financial data. Meta spends
                                                              significant resources compiling and
15                                                            maintaining this valuable data,
                                                              which is non-public, and if revealed
16                                                            to competitors and potential business
17                                                            counterparties, could be used to
                                                              disadvantage and cause Meta
18                                                            competitive harm by giving
                                                              competitors insight into confidential
19                                                            Meta financial information. Further,
                                                              this information reflects sensitive,
20                                                            highly confidential characterizations
21                                                            by Meta’s internal business teams
                                                              that, if revealed, could be referenced
22                                                            by potential counterparties in
                                                              negotiations with Meta to gain an
23                                                            unfair advantage against Meta.
24     192.   Exhibit T2    Dkt. No. 671-2, Exhibit 1,        This information reveals Meta’s
                            excerpts of Fasser Deposition     internal non-public pricing
25                          Transcript, 148:2-5               information for advertising on
                                                              Meta’s products or services,
26                                                            including how those prices can be
27                                                            determined. This information is not
                                                              otherwise publicly reported by the
28   No. 3:20-cv-08570-JD                         -76-      DECLARATION OF AMRISH ACHARYA ISO
                                                              OMNIBUS MOTION TO SEAL MATERIALS
                                                            SUBMITTED IN CONNECTION WITH CLASS
                                                             CERTIFICATION AND DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-1 Filed 11/21/23 Page 78 of 92




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                                                               company and disclosure is likely to
 3
                                                               cause Meta competitive harm and
 4                                                             give its competitors an unfair
                                                               advantage. Meta’s competitors could
 5                                                             improperly utilize this internal, non-
                                                               public information to modify or
 6                                                             augment their business operations in
                                                               an effort to compete unfairly against
 7
                                                               Meta.
 8     193.   Exhibit T3    Dkt. No. 671-3, Exhibit 2,         This document describes Meta's
                            Advertiser Plaintiffs’ Corrected   assessments of business risks and
 9
                            First Supp Responses and           potential strategies to address risks.
10                          Objections                         This information contains
                                                               confidential, non-public information
11                                                             regarding Meta’s internal business
                                                               strategies and analyses, including
12                                                             summaries and discussions of Meta’s
                                                               internal modeling and assessments of
13
                                                               its products, services, or advertising
14                                                             platform that reveal competitively
                                                               sensitive information, including how
15                                                             users or advertisers use and value
                                                               Meta’s products, services, or
16                                                             advertising platform, how they
17                                                             operate, and potential improvements
                                                               or other product changes. Disclosure
18                                                             of this non-public information is
                                                               likely to result in competitive harm
19                                                             to Meta, as it reveals strategic
                                                               decision-making which, for example,
20                                                             could give a developer, advertiser, or
21                                                             business partner unfair leverage in
                                                               competing against or negotiating
22                                                             with Meta.

23     194.   Exhibit T4    Dkt. No. 671-10, Exhibit 9,        This information reveals Meta’s
                            Excerpts of Williams               internal non-public profit, revenue,
24                          Deposition Transcript, 88:3-       and financial calculations. These
                            89:25                              data sets are not otherwise publicly
25                                                             reported by the company and their
                                                               disclosure is likely to cause Meta
26                                                             competitive harm and give its
27                                                             competitors an unfair advantage.
                                                               Meta’s competitors could improperly
28   No. 3:20-cv-08570-JD                         -77-     DECLARATION OF AMRISH ACHARYA ISO
                                                             OMNIBUS MOTION TO SEAL MATERIALS
                                                           SUBMITTED IN CONNECTION WITH CLASS
                                                            CERTIFICATION AND DAUBERT BRIEFING
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                                                               utilize this internal, non-public data
 3
                                                               to modify or augment their business
 4                                                             operations in an effort to compete
                                                               unfairly against Meta. Moreover,
 5                                                             visibility into the trends in the data
                                                               (i.e., figures across multiple years)
 6                                                             gives Meta’s competitors improper
                                                               insight into the financial health and
 7
                                                               future outlook of Meta’s product
 8                                                             development or advertising business,
                                                               which also arguably gives Meta’s
 9                                                             competitors an unfair advantage.
10     195.   Exhibit T4    Dkt. No. 671-10, Exhibit 9,        This information contains
                            Excerpts of Williams               confidential, proprietary, and
11                          Deposition Transcript, 115:1-5     commercially sensitive information
                                                               regarding the technical
12                                                             functionalities and processes of
                                                               Meta’s ad auction. This information
13
                                                               has never been disclosed publicly
14                                                             and Meta’s product team treats it as
                                                               strictly confidential. If publicly
15                                                             revealed, this information could
                                                               influence the competitive decision-
16                                                             making and business strategies
17                                                             employed by Meta’s competitors in
                                                               advertising.
18     196.   Exhibit T4    Dkt. No. 671-10, Exhibit 9,     This information reveals Meta’s
                            Excerpts of Williams            internal non-public pricing
19
                            Deposition Transcript, 157:4-14 information for advertising on
20                                                          Meta’s products or services,
                                                            including how those prices can be
21                                                          determined. This information is not
                                                            otherwise publicly reported by the
22                                                          company and disclosure is likely to
23                                                          cause Meta competitive harm and
                                                            give its competitors an unfair
24                                                          advantage. Meta’s competitors could
                                                            improperly utilize this internal, non-
25                                                          public information to modify or
                                                            augment their business operations in
26                                                          an effort to compete unfairly against
27                                                          Meta.

28   No. 3:20-cv-08570-JD                         -78-       DECLARATION OF AMRISH ACHARYA ISO
                                                               OMNIBUS MOTION TO SEAL MATERIALS
                                                             SUBMITTED IN CONNECTION WITH CLASS
                                                              CERTIFICATION AND DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-1 Filed 11/21/23 Page 80 of 92




 1            Vanderslice      Document or Portion of
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 3     197.   Exhibit T4    Dkt. No. 671-10, Exhibit 9,        This information reveals Meta’s
                            Excerpts of Williams               internal non-public profit, revenue,
 4                          Deposition Transcript, 163:2-7     and financial calculations. These
                                                               data sets are not otherwise publicly
 5                                                             reported by the company and their
                                                               disclosure is likely to cause Meta
 6
                                                               competitive harm and give its
 7                                                             competitors an unfair advantage.
                                                               Meta’s competitors could improperly
 8                                                             utilize this internal, non-public data
                                                               to modify or augment their business
 9                                                             operations in an effort to compete
                                                               unfairly against Meta. Moreover,
10
                                                               visibility into the trends in the data
11                                                             (i.e., figures across multiple years)
                                                               gives Meta’s competitors improper
12                                                             insight into the financial health and
                                                               future outlook of Meta’s product
13                                                             development or advertising business,
                                                               which also arguably gives Meta’s
14
                                                               competitors an unfair advantage.
15    Interim Administrative Motion to File Under Seal Materials ISO Consumers’ Opposition
         to Facebook's Motion to Exclude Testimony of Nicholas Economides (Dkt. No. 673)
16
       198.   Exhibit U1    Dkt. No. 673-1, Consumers’         This document describes future
17                          Opp to Motion to Exclude           potential business plans with regard
                            Testimony of Nicholas              to unreleased products or features.
18
                            Economides, 3:9-17                 This information contains
19                                                             confidential non-public details of
                                                               Meta’s product functionality and
20                                                             strategic considerations related to
                                                               feature development. This
21                                                             information has never been disclosed
22                                                             publicly and Meta’s product team
                                                               treats it as strictly confidential. If
23                                                             publicly revealed, this information
                                                               could influence the competitive
24                                                             decision-making and business
                                                               strategies employed by Meta’s
25                                                             competitors.
26     199.   Exhibit U2    Dkt. No. 673-4, Exhibit 8, PX-     This document describes future
                            0046 Fernandes Deposition          potential business plans with regard
27                                                             to unreleased products or features.
28   No. 3:20-cv-08570-JD                        -79-        DECLARATION OF AMRISH ACHARYA ISO
                                                               OMNIBUS MOTION TO SEAL MATERIALS
                                                             SUBMITTED IN CONNECTION WITH CLASS
                                                              CERTIFICATION AND DAUBERT BRIEFING
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                                                               This information contains
 3
                                                               confidential non-public details of
 4                                                             Meta’s product functionality and
                                                               strategic considerations related to
 5                                                             feature development. This
                                                               information has never been disclosed
 6                                                             publicly and Meta’s product team
                                                               treats it as strictly confidential. If
 7
                                                               publicly revealed, this information
 8                                                             could influence the competitive
                                                               decision-making and business
 9                                                             strategies employed by Meta’s
                                                               competitors.
10
       200.   Exhibit U3    Dkt. No. 673-5, Exhibit 9, PX-     This document describes future
11                          1097 Levy Deposition               potential business plans with regard
                                                               to unreleased products or features.
12                                                             This information contains
                                                               confidential non-public details of
13
                                                               Meta’s product functionality and
14                                                             strategic considerations related to
                                                               feature development. This
15                                                             information has never been disclosed
                                                               publicly and Meta’s product team
16                                                             treats it as strictly confidential. If
17                                                             publicly revealed, this information
                                                               could influence the competitive
18                                                             decision-making and business
                                                               strategies employed by Meta’s
19                                                             competitors.
20     201.   Exhibit U4    Dkt. No. 673-6, Exhibit 10, PX- This document describes future
                            2423 Egan Deposition            potential business plans with regard
21                                                          to unreleased products or features.
                                                            This information contains
22                                                          confidential non-public details of
23                                                          Meta’s product functionality and
                                                            strategic considerations related to
24                                                          feature development. This
                                                            information has never been disclosed
25                                                          publicly and Meta’s product team
                                                            treats it as strictly confidential. If
26                                                          publicly revealed, this information
27                                                          could influence the competitive
                                                            decision-making and business
28   No. 3:20-cv-08570-JD                         -80-       DECLARATION OF AMRISH ACHARYA ISO
                                                               OMNIBUS MOTION TO SEAL MATERIALS
                                                             SUBMITTED IN CONNECTION WITH CLASS
                                                              CERTIFICATION AND DAUBERT BRIEFING
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                                                               strategies employed by Meta’s
 3
                                                               competitors.
 4     202.   Exhibit U5    Dkt. No. 673-7, Exhibit 11, PX- This document describes future
                            2214 Naveh Deposition           potential business plans with regard
 5
                                                            to unreleased products or features.
 6                                                          This information contains
                                                            confidential non-public details of
 7                                                          Meta’s product functionality and
                                                            strategic considerations related to
 8                                                          feature development. This
                                                            information has never been disclosed
 9
                                                            publicly and Meta’s product team
10                                                          treats it as strictly confidential. If
                                                            publicly revealed, this information
11                                                          could influence the competitive
                                                            decision-making and business
12                                                          strategies employed by Meta’s
                                                            competitors.
13
       203.   Exhibit U6    Dkt. No. 673-8, Exhibit 12,        This document describes future
14                          Excerpts from PX-2254              potential business plans with regard
                            Zuckerberg Deposition PALM-        to unreleased products or features.
15
                            013818575                          This information contains
16                                                             confidential non-public details of
                                                               Meta’s product functionality and
17                                                             strategic considerations related to
                                                               feature development. This
18                                                             information has never been disclosed
19                                                             publicly and Meta’s product team
                                                               treats it as strictly confidential. If
20                                                             publicly revealed, this information
                                                               could influence the competitive
21                                                             decision-making and business
                                                               strategies employed by Meta’s
22                                                             competitors.
23       Interim Administrative Motion to File Under Seal Meta’s Opposition to Advertiser
                       Plaintiffs’ Motion to Exclude Tucker (Dkt. No. 675)
24
       204.   Exhibit V     Dkt. No. 675-11, Exhibit 10,       This document describes technical
25                          Excerpts of Schultz Deposition     aspects of Meta's data infrastructure.
                            Transcript                         This information contains
26                                                             confidential, proprietary, and
27                                                             commercially sensitive information
                                                               regarding the technical
28   No. 3:20-cv-08570-JD                         -81-       DECLARATION OF AMRISH ACHARYA ISO
                                                               OMNIBUS MOTION TO SEAL MATERIALS
                                                             SUBMITTED IN CONNECTION WITH CLASS
                                                              CERTIFICATION AND DAUBERT BRIEFING
     Case 3:20-cv-08570-JD Document 711-1 Filed 11/21/23 Page 83 of 92




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 2               No.                 Sealed
                                                           functionalities and processes of
 3
                                                           Meta's data processing systems. This
 4                                                         information has never been disclosed
                                                           publicly and Meta’s product team
 5                                                         treats it as strictly confidential. If
                                                           publicly revealed, this information
 6                                                         could influence the competitive
                                                           decision-making and business
 7
                                                           strategies employed by Meta’s
 8                                                         competitors in advertising.
        Interim Administrative Motion to File Under Seal Advertiser Plaintiffs’ Opposition to
 9
                 Meta’s Motion to Exclude Kreitzman and Williams (Dkt. No. 679)
10     205.   Exhibit W1    Dkt. No. 679-5, Exhibit 12     This document reveals confidential
                                                           financial information. This
11
                                                           information reveals Meta’s internal
12                                                         non-public profit, revenue, and
                                                           financial calculations. These data
13                                                         sets are not otherwise publicly
                                                           reported by the company and their
14                                                         disclosure is likely to cause Meta
                                                           competitive harm and give its
15
                                                           competitors an unfair advantage.
16                                                         Meta’s competitors could improperly
                                                           utilize this internal, non-public data
17                                                         to modify or augment their business
                                                           operations in an effort to compete
18                                                         unfairly against Meta. Moreover,
                                                           visibility into the trends in the data
19
                                                           (i.e., figures across multiple years)
20                                                         gives Meta’s competitors improper
                                                           insight into the financial health and
21                                                         future outlook of Meta’s product
                                                           development and advertising
22                                                         business, which also arguably gives
23                                                         Meta’s competitors an unfair
                                                           advantage.
24     206.   Exhibit W2    Dkt. No. 679-6, Exhibit 13     This document reveals confidential
25                                                         financial information. This
                                                           information reveals Meta’s internal
26                                                         non-public profit, revenue, and
                                                           financial calculations. These data
27                                                         sets are not otherwise publicly
28   No. 3:20-cv-08570-JD                        -82-    DECLARATION OF AMRISH ACHARYA ISO
                                                           OMNIBUS MOTION TO SEAL MATERIALS
                                                         SUBMITTED IN CONNECTION WITH CLASS
                                                          CERTIFICATION AND DAUBERT BRIEFING
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                                                               reported by the company and their
 3
                                                               disclosure is likely to cause Meta
 4                                                             competitive harm and give its
                                                               competitors an unfair advantage.
 5                                                             Meta’s competitors could improperly
                                                               utilize this internal, non-public data
 6                                                             to modify or augment their business
                                                               operations in an effort to compete
 7
                                                               unfairly against Meta. Moreover,
 8                                                             visibility into the trends in the data
                                                               (i.e., figures across multiple years)
 9                                                             gives Meta’s competitors improper
                                                               insight into the financial health and
10                                                             future outlook of Meta’s product
                                                               development and advertising
11
                                                               business, which also arguably gives
12                                                             Meta’s competitors an unfair
                                                               advantage.
13
       Interim Administrative Motion to File Under Seal Meta’s Reply ISO Motion to Exclude
14                               Fasser and Gans (Dkt. No. 683)
       207.   Exhibit X     Dkt. No. 683-4, Exhibit 16,        This document describes specific
15
                            Excerpts from the Gans             contract terms between Meta and an
16                          Deposition Transcript, 275:14-     advertiser. This text contains non-
                            16                                 public and confidential information
17                                                             regarding Meta’s agreements with an
                                                               advertiser as well as internal strategy
18                                                             relating to those agreements.
                                                               Disclosure of this non-public
19
                                                               information is likely to result in
20                                                             competitive harm to Meta, as it
                                                               reveals strategic decision-making
21                                                             which, for example, could give an
                                                               advertiser unfair leverage in
22                                                             competing against or negotiating
23                                                             with Meta. Moreover, Meta’s
                                                               competitors could use this non-party
24                                                             information to unfairly target Meta’s
                                                               advertisers and offer specific deal
25                                                             terms designed to undercut those
                                                               offered by Meta.
26
         Interim Administrative Motion to File Under Seal Advertiser Plaintiffs’ Reply ISO
27                        Motion for Class Certification (Dkt. No. 688)
28   No. 3:20-cv-08570-JD                        -83-        DECLARATION OF AMRISH ACHARYA ISO
                                                               OMNIBUS MOTION TO SEAL MATERIALS
                                                             SUBMITTED IN CONNECTION WITH CLASS
                                                              CERTIFICATION AND DAUBERT BRIEFING
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 3     208.   Exhibit Y1    Dkt. No. 688-5, Exhibit 6,     This document describes technical
                            Excerpts from the 30(b)(1)     aspects of Meta's data infrastructure.
 4                          Deposition of Alex Schultz     This information contains
                                                           confidential, proprietary, and
 5                                                         commercially sensitive information
                                                           regarding the technical
 6
                                                           functionalities and processes of
 7                                                         Meta's data processing systems. This
                                                           information has never been disclosed
 8                                                         publicly and Meta’s product team
                                                           treats it as strictly confidential. If
 9                                                         publicly revealed, this information
                                                           could influence the competitive
10
                                                           decision-making and business
11                                                         strategies employed by Meta’s
                                                           competitors in advertising.
12
       209.   Exhibit Y2    Dkt. No. 688-7, Exhibit 8,     This document reveals confidential
13                          PALM-003309653                 financial information. This
                                                           information reveals Meta’s internal
14                                                         non-public profit, revenue, and
                                                           financial calculations. These data
15                                                         sets are not otherwise publicly
                                                           reported by the company and their
16
                                                           disclosure is likely to cause Meta
17                                                         competitive harm and give its
                                                           competitors an unfair advantage.
18                                                         Meta’s competitors could improperly
                                                           utilize this internal, non-public data
19                                                         to modify or augment their business
20                                                         operations in an effort to compete
                                                           unfairly against Meta. Moreover,
21                                                         visibility into the trends in the data
                                                           (i.e., figures across multiple years)
22                                                         gives Meta’s competitors improper
                                                           insight into the financial health and
23                                                         future outlook of Meta’s product
24                                                         development and advertising
                                                           business, which also arguably gives
25                                                         Meta’s competitors an unfair
                                                           advantage.
26
       210.   Exhibit Y3    Dkt. No. 688-8, Exhibit 9,     This document describes specific
27                          PALM-005037545                 contract terms between Meta and an
                                                           advertiser. This text contains non-
28   No. 3:20-cv-08570-JD                         -84-   DECLARATION OF AMRISH ACHARYA ISO
                                                           OMNIBUS MOTION TO SEAL MATERIALS
                                                         SUBMITTED IN CONNECTION WITH CLASS
                                                          CERTIFICATION AND DAUBERT BRIEFING
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 2               No.                 Sealed
                                                             public and confidential information
 3
                                                             regarding Meta’s agreements with an
 4                                                           advertiser as well as internal strategy
                                                             relating to those agreements.
 5                                                           Disclosure of this non-public
                                                             information is likely to result in
 6                                                           competitive harm to Meta, as it
                                                             reveals strategic decision-making
 7
                                                             which, for example, could give an
 8                                                           advertiser unfair leverage in
                                                             competing against or negotiating
 9                                                           with Meta. Moreover, Meta’s
                                                             competitors could use this non-party
10                                                           information to unfairly target Meta’s
                                                             advertisers and offer specific deal
11
                                                             terms designed to undercut those
12                                                           offered by Meta.
       211.   Exhibit Y4    Dkt. No. 688-9, Exhibit 10,      This document describes
13
                            PALM-013912488                   confidential information on the
14                                                           functionality of Meta's advertising
                                                             products and services. This
15                                                           information contains confidential,
                                                             proprietary, and commercially
16                                                           sensitive information regarding the
17                                                           technical functionalities and
                                                             processes of Meta’s ad targeting and
18                                                           delivery systems. This information
                                                             has never been disclosed publicly
19                                                           and Meta’s product team treats it as
                                                             strictly confidential. If publicly
20                                                           revealed, this information could
21                                                           influence the competitive decision-
                                                             making and business strategies
22                                                           employed by Meta’s competitors in
                                                             advertising.
23
       212.   Exhibit Y5    Dkt. No. 688-10, Exhibit 11,     This document describes
24                          PALM-000777305                   confidential information on the
                                                             functionality of Meta's advertising
25                                                           products and services. This
                                                             information contains confidential,
26                                                           proprietary, and commercially
27                                                           sensitive information regarding the
                                                             technical functionalities and
28   No. 3:20-cv-08570-JD                         -85-     DECLARATION OF AMRISH ACHARYA ISO
                                                             OMNIBUS MOTION TO SEAL MATERIALS
                                                           SUBMITTED IN CONNECTION WITH CLASS
                                                            CERTIFICATION AND DAUBERT BRIEFING
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 1            Vanderslice      Document or Portion of
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 2               No.                 Sealed
                                                             processes of Meta’s ad targeting and
 3
                                                             delivery systems. This information
 4                                                           has never been disclosed publicly
                                                             and Meta’s product team treats it as
 5                                                           strictly confidential. If publicly
                                                             revealed, this information could
 6                                                           influence the competitive decision-
                                                             making and business strategies
 7
                                                             employed by Meta’s competitors in
 8                                                           advertising.
      Interim Administrative Motion to File Under Seal Reply in Support of Meta’s Motion to
 9
       Exclude the Testimony of Nicholas Economides and Accompanying Exhibits (Dkt. No.
10                                            694)
       213.   Exhibit Z     Dkt. No. 694-1, Meta’s Reply     This text describes confidential
11
                            ISO Meta’s Motion to Exclude     financial information and data
12                          the Testimony of Nicholas        relating to Meta's advertising
                            Economides, 4:23-24, between     products. Meta spends significant
13                          “was” and “offers”               resources compiling and maintaining
                                                             this valuable data, which is non-
14                                                           public, and if revealed to competitors
                                                             and potential business
15
                                                             counterparties, could be used to
16                                                           disadvantage and cause Meta
                                                             competitive harm by giving
17                                                           competitors insight into confidential
                                                             Meta financial information.
18
       214.   Exhibit Z     Dkt. No. 694-1, Meta’s Reply     This document describes future
19                          ISO Meta’s Motion to Exclude     potential business plans with regard
                            the Testimony of Nicholas        to unreleased products or features.
20                          Economides, 5:8-25 (quotations   This information contains
                            from PALM Bates-stamped          confidential non-public details of
21
                            documents)                       Meta’s product functionality and
22                                                           strategic considerations related to
                                                             feature development. This
23                                                           information has never been disclosed
                                                             publicly and Meta’s product team
24                                                           treats it as strictly confidential. If
25                                                           publicly revealed, this information
                                                             could influence the competitive
26                                                           decision-making and business
                                                             strategies employed by Meta’s
27                                                           competitors.
28   No. 3:20-cv-08570-JD                        -86-      DECLARATION OF AMRISH ACHARYA ISO
                                                             OMNIBUS MOTION TO SEAL MATERIALS
                                                           SUBMITTED IN CONNECTION WITH CLASS
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 1            Vanderslice      Document or Portion of
      Row
               Decl. Ex.       Document Sought to Be                Basis for Sealing
      No.
 2               No.                 Sealed

 3    Interim Administrative Motion to File Under Seal Advertiser Plaintiffs’ Corrected Reply
                        ISO Motion for Class Certification (Dkt. No. 699)
 4     215.   Exhibit       Dkt. No. 699-5, Exhibit 6,     This document describes technical
 5            AA1           Excerpts from the 30(b)(1)     aspects of Meta's data infrastructure.
                            Deposition of Alex Schultz     This information contains
 6                                                         confidential, proprietary, and
                                                           commercially sensitive information
 7                                                         regarding the technical
                                                           functionalities and processes of
 8
                                                           Meta's data processing systems. This
 9                                                         information has never been disclosed
                                                           publicly and Meta’s product team
10                                                         treats it as strictly confidential. If
                                                           publicly revealed, this information
11                                                         could influence the competitive
                                                           decision-making and business
12
                                                           strategies employed by Meta’s
13                                                         competitors in advertising.
       216.   Exhibit       Dkt. No. 699-7, Exhibit 8,     This document reveals confidential
14
              AA2           PALM-003309653                 financial information. This
15                                                         information reveals Meta’s internal
                                                           non-public profit, revenue, and
16                                                         financial calculations. These data
                                                           sets are not otherwise publicly
17                                                         reported by the company and their
                                                           disclosure is likely to cause Meta
18
                                                           competitive harm and give its
19                                                         competitors an unfair advantage.
                                                           Meta’s competitors could improperly
20                                                         utilize this internal, non-public data
                                                           to modify or augment their business
21                                                         operations in an effort to compete
22                                                         unfairly against Meta. Moreover,
                                                           visibility into the trends in the data
23                                                         (i.e., figures across multiple years)
                                                           gives Meta’s competitors improper
24                                                         insight into the financial health and
                                                           future outlook of Meta’s product
25                                                         development and advertising
26                                                         business, which also arguably gives
                                                           Meta’s competitors an unfair
27                                                         advantage.

28   No. 3:20-cv-08570-JD                         -87-   DECLARATION OF AMRISH ACHARYA ISO
                                                           OMNIBUS MOTION TO SEAL MATERIALS
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 1            Vanderslice      Document or Portion of
      Row
               Decl. Ex.       Document Sought to Be                   Basis for Sealing
      No.
 2               No.                 Sealed

 3     217.   Exhibit       Dkt. No. 699-8, Exhibit 9,       This document describes specific
              AA3           PALM-005037545                   contract terms between Meta and an
 4                                                           advertiser. This text contains non-
                                                             public and confidential information
 5                                                           regarding Meta’s agreements with an
                                                             advertiser as well as internal strategy
 6
                                                             relating to those agreements.
 7                                                           Disclosure of this non-public
                                                             information is likely to result in
 8                                                           competitive harm to Meta, as it
                                                             reveals strategic decision-making
 9                                                           which, for example, could give an
                                                             advertiser unfair leverage in
10
                                                             competing against or negotiating
11                                                           with Meta. Moreover, Meta’s
                                                             competitors could use this non-party
12                                                           information to unfairly target Meta’s
                                                             advertisers and offer specific deal
13                                                           terms designed to undercut those
                                                             offered by Meta.
14
       218.   Exhibit       Dkt. No. 699-9, Exhibit 10,      This document describes
15            AA4           PALM-013912488                   confidential information on the
                                                             functionality of Meta's advertising
16
                                                             products and services. This
17                                                           information contains confidential,
                                                             proprietary, and commercially
18                                                           sensitive information regarding the
                                                             technical functionalities and
19                                                           processes of Meta’s ad targeting and
20                                                           delivery systems. This information
                                                             has never been disclosed publicly
21                                                           and Meta’s product team treats it as
                                                             strictly confidential. If publicly
22                                                           revealed, this information could
                                                             influence the competitive decision-
23                                                           making and business strategies
24                                                           employed by Meta’s competitors in
                                                             advertising.
25     219.   Exhibit       Dkt. No. 699-10, Exhibit 11,     This document describes
26            AA5           PALM-000777305                   confidential information on the
                                                             functionality of Meta's advertising
27                                                           products and services. This
                                                             information contains confidential,
28   No. 3:20-cv-08570-JD                         -88-     DECLARATION OF AMRISH ACHARYA ISO
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 1            Vanderslice   Document or Portion of
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      No.
 2               No.              Sealed
                                                       proprietary, and commercially
 3
                                                       sensitive information regarding the
 4                                                     technical functionalities and
                                                       processes of Meta’s ad targeting and
 5                                                     delivery systems. This information
                                                       has never been disclosed publicly
 6                                                     and Meta’s product team treats it as
                                                       strictly confidential. If publicly
 7
                                                       revealed, this information could
 8                                                     influence the competitive decision-
                                                       making and business strategies
 9                                                     employed by Meta’s competitors in
                                                       advertising.
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28   No. 3:20-cv-08570-JD                   -89-     DECLARATION OF AMRISH ACHARYA ISO
                                                       OMNIBUS MOTION TO SEAL MATERIALS
                                                     SUBMITTED IN CONNECTION WITH CLASS
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 1      I declare that the foregoing is true and correct under penalty of perjury.

 2      Executed on this 20th day of November, 2023, in San Francisco, California.

 3

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 6
                                                      By:
 7                                                           Amrish Acharya
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28   No. 3:20-cv-08570-JD                                    DECLARATION OF AMRISH ACHARYA ISO
                                                               OMNIBUS MOTION TO SEAL MATERIALS
                                                             SUBMITTED IN CONNECTION WITH CLASS
                                                              CERTIFICATION AND DAUBERT BRIEFING
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 1                                   SIGNATURE ATTESTATION

 2          This document is being filed through the Electronic Case Filing (ECF) system by attorney

 3   Sonal N. Mehta. By her signature, Ms. Mehta attests that she has obtained concurrence in the filing

 4   of this document from the signatory.
                                                     By:    /s/ Sonal N. Mehta
 5
                                                             Sonal N. Mehta
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28   No. 3:20-cv-08570-JD                                    DECLARATION OF AMRISH ACHARYA ISO
                                                               OMNIBUS MOTION TO SEAL MATERIALS
                                                             SUBMITTED IN CONNECTION WITH CLASS
                                                              CERTIFICATION AND DAUBERT BRIEFING
